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 1
                                                                            Honorable Robert S. Lasnik
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 6                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8
     AMAZON.COM, INC., a Delaware
 9   corporation, AMAZON TECHNOLOGIES,                   CASE NO. 2:17-cv-01830-RSL
     INC., a Nevada corporation; and AMAZON
10   SERVICES, LLC, a Nevada limited liability           AMENDED COMPLAINT
     company,
11
                                   Plaintiffs,
12

13                  v.

14   FBA STORES, LLC, a limited liability
     company; FBA DISTRIBUTORS, LLC, a
15   limited liability company; FBA
     ADVANTAGE, LLC, a limited liability
16
     company; AWS, LLC, a limited liability
17   company; ONLINE AUCTION LEARNING
     CENTER, INC., a corporation;
18   CHRISTOPHER BOWSER, an individual;
     ADAM BOWSER, an individual; and DOE
19   Companies 1 – 20,
20
                                   Defendants.
21

22
            Defendants Christopher and Adam Bowser are con-artists who prey on people hoping to
23
     become sellers on Amazon.com. Through their entities FBA Stores, LLC and AWS, LLC, and a
24
     web of related entities and websites, the Bowsers lure people to seminars that purportedly offer
25
     inside information about, and special access to, Amazon’s systems. The Bowsers attract victims
26

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 1   in part by deceitfully suggesting that they are affiliated with, or somehow sponsored or sanctioned

 2   by, Amazon; indeed, the names “FBA Stores, LLC” and “AWS, LLC” both illegally trade on

 3   Amazon trademarks and falsely suggest some connection to Amazon. When the Bowsers’ victims

 4   attend these seminars, they are duped into paying tens of thousands of dollars by false promises of

 5   unrealistic profits they will earn as Amazon sellers. The Bowsers do not and cannot deliver on

 6   their false promises because they have no special information about Amazon and no way to offer

 7   consumers any advantage as Amazon sellers; worse yet, the Bowsers actively mislead consumers

 8   about Amazon’s systems and what is permissible under Amazon’s selling policies. When the

 9   Bowsers’ victims realize they have been duped (as many eventually do), the Bowsers refuse to

10   return those victims’ money.

11          The Bowsers’ scheme has been disturbingly successful and has already harmed hundreds

12   or even thousands of would-be entrepreneurs. It has also harmed Amazon and its trust and

13   goodwill with customers, as many of the Bowsers’ victims continue to believe that Amazon is

14   somehow affiliated with, or approves of, this scam. Amazon brings this lawsuit to protect its

15   customers from the Bowsers’ unscrupulous and illegal conduct, and to dispel any confusion about

16   Amazon’s affiliation (or lack thereof) with the Bowsers, FBA Stores, or their affiliates.

17                                        I.   INTRODUCTION
18          1.      This is a case about two con-men and their companies that trade on the Amazon

19   name to convince thousands of people around the country to sign up for their “selling on Amazon”

20   training programs and to buy their wholesale products to sell on Amazon.com. Posing as Amazon

21   in aggressive marketing campaigns, they pitch a get-rich-quick scheme to hopeful entrepreneurs

22   wanting to learn how to join Amazon’s third-party seller program.

23          2.      In their costly training workshops, Defendants teach their “students” (as the

24   Bowsers euphemistically call them, rather than victims) how to set up an Amazon seller account

25   and how to increase their sales, in part by violating Amazon’s seller policies. With exaggerated

26   promises of guaranteed profits, Defendants then sell to their students products that are often

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 1   overpriced, mislabeled and/or counterfeit, which Defendants then list for sale on Amazon.com and

 2   make available to Amazon’s customers on behalf of Defendants’ students. Defendants’ conduct

 3   damages Amazon’s third-party seller ecosystem, undermines the trust of Amazon’s customers, and

 4   tarnishes Amazon’s brand and reputation.

 5   A.     Amazon, Its Third-Party Seller Program, and Its “FBA” Service.
 6          3.      Since opening its virtual doors on the World Wide Web in July 1995, Amazon.com

 7   has become one of the most trusted consumer brands in the world. Each day, millions of

 8   consumers use Amazon’s website to purchase a wide range of products across dozens of product

 9   categories from Amazon and its authorized third-party sellers. The Amazon brand allows

10   customers to shop with confidence online regardless of whether the products are offered directly

11   by Amazon or through its third-party sellers.

12          4.      Amazon has been able to attract third-party sellers to its ecommerce marketplace

13   largely as a result of the brand recognition, reputation, and customer goodwill it has worked

14   diligently to develop and enhance over the years. Amazon’s third-party seller program provides

15   registered sellers (“Amazon Sellers” or “Sellers”) access to Amazon’s customer-base and other

16   significant benefits. In turn, their participation in the Amazon marketplace and the wider array of

17   products they offer expands Amazon’s online catalog and drives down prices, ultimately

18   increasing consumer options and enhancing the customer experience.

19          5.      To ensure that customers receive competitive prices, quality products, and excellent

20   customer service, regardless of product source, Amazon has developed a uniform set of contract

21   terms, conditions, policies and guidelines that govern Seller activities. Seller compliance with

22   these terms is an important part of maintaining Amazon’s brand, customer goodwill, and a

23   consistent consumer experience.

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 1           6.       Amazon offers Sellers the option of fulfilling orders through its FBA – “Fulfillment

 2   by Amazon” – service. 1 With the FBA service, Sellers can ship their products to one of the many

 3   Amazon fulfillment centers strategically located around the country and Amazon will pick, pack,

 4   and ship these products to the end customer. Products offered through Amazon’s FBA service are

 5   displayed with Amazon’s Prime logo, indicating to customers that Amazon itself handles the

 6   shipping and customer service. Products shipped from Amazon’s fulfillment centers are also

 7   eligible for Amazon Prime FREE Two-Day Shipping for Prime members and FREE Shipping for

 8   all customers. Amazon also provides customer service for these products, handling questions,

 9   complaints, returns, and refunds.

10           7.       Prime members often prefer to buy products eligible for Amazon Prime FREE

11   Two-Day Shipping. Many other customers also prefer to buy products for which Amazon handles

12   the shipping and customer service.

13           8.       For these and other reasons, Amazon’s FBA service can be particularly valuable to

14   new Sellers without a proven track record.

15           9.       Amazon’s FBA service also can be very attractive to smaller-scale Sellers seeking

16   to scale their business and reach more customers. Amazon has no minimum product quantity for

17   intake into its fulfillment centers, which provides a significant value proposition for Sellers with

18   modest or fluctuating inventory. And Sellers using Amazon’s FBA service are charged for the

19   storage space they use and the orders that Amazon fulfills, providing a flexible, cost-effective, and

20   simple fulfillment solution.

21           10.      Amazon’s FBA service addresses several significant barriers to the online

22   marketplace faced by new and small-scale Sellers. In this way, Amazon’s FBA service opens

23   doors and creates opportunities, particularly for would-be entrepreneurs.

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       1
        An overview of Amazon’s FBA services is available at https://services.amazon.com/fulfillment-by-
26   amazon/benefits.htm/ref=asus_soa_gs_fba.


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 1          11.       But with reduced barriers to market entry come inexperienced market entrants and,

 2   unfortunately, bad actors who take advantage of that inexperience.

 3   B.     Defendants’ Scheme to Exploit Amazon and Deceive Aspiring Amazon Sellers.
 4          12.       Defendants Chris Bowser and his brother Adam Bowser, individually and through

 5   their co-Defendant network of affiliated companies, improperly exploit Amazon’s name,

 6   intellectual property, and reputation to sell their get-rich-quick scheme to thousands of individual

 7   aspiring entrepreneurs around the country. These people often pay tens of thousands of dollars to

 8   Defendants based on Defendants’ false portrayal of an affiliation with Amazon, relying on these

 9   misrepresentations to start a business using Amazon’s FBA service. Because of Defendants’

10   improper guidance and other bad acts, these entrepreneurs often fail in their efforts, enriching only

11   the Defendants. Many of these entrepreneurs have complained to Amazon, mistakenly believing

12   that Amazon is associated with the Defendants.

13          13.       Defendants’ scheme includes, but is not limited to, the following misconduct:

14                •   Using Amazon’s trademarks without authorization as a central pillar of
                      their business model;
15

16                •   Exploiting the Amazon brand to recruit “students” interested in becoming
                      Amazon Sellers;
17
                  •   Persuading their students to pay for expensive workshops and training
18                    programs based on exaggerated promises of special access to inside
                      Amazon information and guaranteed profits;
19

20                •   Manipulating students’ personal credit card applications so they can pay
                      for their costly products and services;
21
                  •   Teaching their students to open multiple Seller accounts in violation of
22                    Amazon’s Seller policies;
23                •   Instructing their students to obtain fraudulent product reviews in violation
                      of Amazon’s Seller policies;
24

25                •   Supplying fraudulent documentation to Amazon on behalf of their student
                      sellers to obtain approval to sell restricted product categories (“ungating”);
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                  •   Selling to their students over-priced, mislabeled, and/or counterfeit
 1                    products; and
 2
                  •   Listing mislabeled and/or inauthentic products for sale on Amazon.com on
 3                    behalf of their students.

 4          14.       At the center of the scheme is the Bowsers’ company, Defendant FBA Stores, LLC

 5   (“FBA-Stores”), whose name intentionally and confusingly implies a connection with Amazon

 6   and its FBA service. Amazon does not yet fully understand the relationship between and among

 7   the corporate Defendants or the products and services provided by each, as these relationships are

 8   obfuscated by Defendants. Amazon believes that some of the products and services described in

 9   this Complaint may be provided by entities owned, operated, or otherwise closely related to the

10   named Defendants and, on that basis, has listed as additional Defendants DOE Companies 1–20.

11          15.       As explained below, each of the corporate Defendants are owned, controlled,

12   and/or managed by Chris Bowser and Adam Bowser. Individually and in combination, the

13   Bowsers are the guiding force behind each of the corporate Defendants, whose activities are

14   coordinated to exploit Amazon’s trademarks as part of a common scheme to enrich themselves at

15   Amazon’s and their students’ expense. The Bowsers are the central figures who drive the strategy

16   of the enterprise and who authorize, direct and personally participate in the unlawful actions and

17   activities of their companies alleged herein.

18          16.       Multiple times each week in cities across the country, FBA-Stores hosts a free

19   “LIVE Amazon Workshop” touted as a “once-in-a-lifetime opportunity” where “you will see how

20   to: Get started selling on Amazon and Make $5,000-$10,000 in the next 30 days…Even if you

21   have never sold anything online before[.]” FBA-Stores entices prospective Amazon Sellers to

22   these workshops by plastering Amazon’s logos on its mass marketing materials, effectively posing

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 1   as Amazon. As part of a direct mail campaign, Defendants enclose “Complimentary VIP Tickets”

 2   to the presentation, which include Amazon’s trademarked logo as the only indication of origin:

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10          17.     In coordination and cooperation with its co-Defendants and at the Bowsers’

11   direction, FBA-Stores uses these free presentations to convince the audience members to sign up

12   for a follow-on 3-day workshop (at a cost of $995) for additional training on how to sell products

13   using Amazon’s FBA service. Even after sitting through the free 2-hour presentation, a large

14   percentage of those who sign up for the 3-day workshop continue to believe they are dealing

15   directly with Amazon or at least a company endorsed or sponsored by Amazon. This confusion is

16   intentional; it is a key part of Defendants’ business plan and is reinforced with repeated exposure

17   to signs and other materials prominently displaying Amazon’s trademarks.

18          18.     At the 3-day workshops, FBA-Stores “students” are shown how to register as

19   Amazon Sellers, how to use Amazon’s FBA service, and how to accept Amazon’s standard

20   contract terms and conditions for selling on Amazon.com.

21          19.     But FBA-Stores students are also taught how to violate Amazon’s terms and

22   conditions, including by opening multiple seller accounts and obtaining fraudulent product

23   reviews. Not only are they shown how to violate these terms in order to increase their sales,

24   Defendants provide instruction on how to do so in ways expressly intended to avoid detection by

25   Amazon. Upon information and belief, FBA-Stores is not honest or transparent about Amazon’s

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 1   selling policies, so many students are not aware that FBA-Stores is encouraging or facilitating

 2   conduct that violates Amazon’s policies.

 3          20.     Amazon’s terms and conditions prohibit Sellers from opening multiple accounts

 4   without authorization. Despite knowing this, Defendants explicitly show their students how to set

 5   up additional accounts in ways that keep “everything separate so Amazon will never link your

 6   accounts” and have at times offered to set up a second store on a new laptop to avoid detection.

 7          21.     Amazon also strictly prohibits any attempt to manipulate customer reviews and

 8   actively polices its website to remove false, misleading, and inauthentic reviews. But in one video

 9   presentation, Chris Bowser describes a number of ways FBA-Stores’ students can obtain

10   fraudulent product reviews, including the “sneaky little trick” of paying for favorable reviews:

11                  And here’s a sneaky little trick a lot of people don’t know about.
                    Another thing you can do is buy reviews.
12
            22.     By instructing students to set up multiple accounts and to obtain fraudulent positive
13
     product reviews to increase their sales in violation of the terms and conditions governing their
14
     status as Amazon sellers, Defendants are inducing their students to breach their Seller agreements
15
     with Amazon. In doing so, Defendants are engaging in behavior that hurts Amazon, its customers,
16
     and other Sellers.
17
            23.     FBA-Stores also uses the 3-day workshops to upsell expensive “continuing
18
     education” packages, at costs ranging from $4,995 to $34,995. In addition to one-on-one
19
     “coaching” sessions, some packages also come with the empty promises of special access to
20
     Defendants’ wholesale products with guaranteed rates of return of 15% - 30% or higher. Some
21
     packages also come with access to a “Fulfillment by Adam” service where FBA-Stores will list
22
     products on Amazon.com and ship them to Amazon’s fulfillment centers on behalf of its student
23
     Sellers, for further handling through Amazon’s FBA service, all in exchange for various fees and
24
     charges. The “Fulfillment by Adam” label is a transparent and amateurish attempt to justify FBA-
25
     Stores’ trading on Amazon’s FBA name and marks.
26

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 1             24.     As part of these expensive packages, Defendants have supplied and continue to

 2   supply FBA-Stores student Sellers with overpriced, mislabeled, and/or counterfeit products. FBA-

 3   Stores then incorrectly lists those products for sale on Amazon.com on behalf of its student

 4   Sellers, in violation of Amazon’s contractual provisions requiring accurate product listings and

 5   anti-counterfeiting policy. When Defendants introduce counterfeit and/or mislabeled products

 6   into the Amazon marketplace through student Sellers using Amazon’s FBA service, Amazon

 7   handles all customer service issues, returns, and refunds.

 8             25.     Amazon’s Seller policies require accurate and complete product listings. Amazon

 9   also has zero tolerance for counterfeits, and its anti-counterfeiting policy unequivocally prohibits

10   the sale of counterfeit products: “The sale of counterfeit products, including any products that

11   have been illegally replicated, reproduced, or manufactured, is strictly prohibited.” 2

12             26.     When Amazon finds counterfeit products from whatever source, it removes those

13   products immediately. Amazon regularly suspends or blocks sellers suspected of engaging in

14   illegal behavior or infringing others’ intellectual property rights. Amazon has suspended or

15   terminated many FBA-Stores student Seller accounts due to suspicion of fraud, intellectual

16   property infringement, product quality concerns, or other violations of Amazon’s policies.

17             27.     Defendants have engaged in a concerted, coordinated, and systematic effort to

18   exploit Amazon’s name, brand, and intellectual property to convince thousands of people around

19   the country to spend millions of dollars on worthless, inauthentic, and/or over-priced products and

20   services. Some FBA-Stores students have contacted Amazon about Defendants’ programs, not

21   understanding the distinction between Amazon and Defendants even after sitting through

22   Defendants’ 2-hour presentation. Large numbers of victimized students share their stories in

23   online forums and blogs. 3 FBA-Stores has an “F” rating with the Better Business Bureau.

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           Available at https://www.amazon.com/gp/help/customer/display.html?nodeId=201166010.
25     3
         E.g., https://www.complaintsboard.com/complaints/fba-stores-individual-coaching-c834708.html#comments;
     https://onemorecupof-coffee.com/are-amazon-fba-courses-a-scam/;
26   https://sellercentral.amazon.com/forums/thread.jspa?threadID=359272&tstart=0;

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 1   Hundreds, if not thousands, of people have experienced significant financial harm as a result of

 2   Defendants’ conduct.

 3           28.       Defendants’ misconduct also has caused and is causing irreparable harm to

 4   Amazon’s reputation and the goodwill it has developed both with its customers and its Sellers.

 5   The primary remedy Amazon seeks by way of this lawsuit is injunctive relief:

 6                 •   to prevent Defendants from engaging in any further improper use of
                       Amazon’s name, brand, and trademarks; and
 7

 8                 •   to prevent Defendants from instructing any other prospective Sellers how
                       to violate the terms and conditions applicable to all Amazon Sellers, or
 9                     facilitating such violations on behalf of any Seller.

10                                                 II. PARTIES
11           29.       Plaintiff Amazon.com, Inc. (“Amazon”) is a Delaware corporation with its

12   principal place of business in Seattle, Washington. Through its subsidiaries, Amazon owns and

13   operates the Amazon.com website and equivalent international websites. Amazon has more than

14   250 million active customers. In addition to Amazon’s own retail sales, a large number of third-

15   party Sellers make their own products available on Amazon.com. Of those, and as described in

16   greater detail below, many use Amazon’s fulfillment service, Fulfillment by Amazon, or FBA.

17   Plaintiff Amazon Technologies, Inc. is a Nevada corporation, with its principal place of business

18   in Seattle, Washington. Plaintiff Amazon Services, LLC is a Nevada limited liability company

19   with its principal place of business in Seattle, Washington. Amazon Technologies, Inc. and

20   Amazon Services, LLC are wholly-owned subsidiaries of Amazon.com, Inc.

21           30.       Defendant FBA Stores, LLC (“FBA-Stores”) is a limited liability company

22   organized under the laws of the State of Nevada. According to records available on the website

23   for the Nevada Secretary of State, FBA-Stores was organized on September 23, 2016. Upon

24

25
     http://www.reviewopedia.com/workathome/insider-online-secrets-reviews-legit-or-scam/;
26   https://secondskillstudio.com/fba-stores-review-why-you-shouldnt-try-their-products.


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 1   information and belief, FBA-Stores’ principal place of business is located at 293 Libbey Industrial

 2   Pkwy Suite 250, Weymouth, MA 02189. Adam Bowser is listed as FBA-Stores’ Manager.

 3          31.     Defendant FBA Distributors, LLC is a limited liability company organized under

 4   the laws of the State of Massachusetts. According to records available on the website for the

 5   Massachusetts Secretary of State, FBA Distributors, LLC was organized under a prior name (One

 6   Source Electronics LLC) on March 31, 2014. Its name was changed on June 24, 2016. Its address

 7   is listed as 293 Libbey Industrial Pkwy Suite 250, Weymouth, MA 02189. Adam Bowser and

 8   Chris Bowser are listed as its Managers.

 9          32.     Defendant FBA Advantage, LLC is a limited liability company organized under the

10   laws of the State of Massachusetts. According to records available on the website for the

11   Massachusetts Secretary of State, FBA Advantage, LLC was organized on June 18, 2016. Its

12   address is listed as 293 Libbey Industrial Pkwy Suite 150, Weymouth, MA 02189.

13          33.     Defendant AWS, LLC is a limited liability company organized under the laws of

14   the State of Nevada. According to records available on the website for the Nevada Secretary of

15   State, the company was organized on July 11, 2017. Adam Bowser is listed as its Manager.

16          34.     Defendant Online Auction Learning Center Inc. (“OALC”) is a corporation

17   organized under the laws of the State of Massachusetts. According to records available on the

18   website for the Massachusetts Secretary of State, OALC was organized on December 30, 2013.

19   Its address is listed as 293 Libbey Industrial Pkwy Suite 250, Weymouth, MA 02189. Chris

20   Bowser is listed as its President. Adam Bowser is listed as its Treasurer and Secretary. Chris and

21   Adam Bowser are listed as the only two directors. According to records available on the website

22   for the Nevada Secretary of State, OALC was registered in Nevada on August 21, 2015, with an

23   address at 3165 N. Moapa Valley Blvd., Logandale, NV 89021. Upon information and belief,

24   Chris and Adam Bowser founded OALC and are its majority shareholders.

25

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 1           35.     Defendant Chris Bowser is an individual believed to reside in the State of New

 2   York.

 3           36.     Defendant Adam Bowser is an individual believed to reside in the State of

 4   Massachusetts.

 5           37.     Defendant DOE Companies 1 – 20 are believed to be owned and operated by, or

 6   otherwise closely-related to, the named Defendants and have engaged and continue to engage in

 7   the same or similar conduct that forms the basis of Amazon’s claims as described in this

 8   Complaint. This Complaint will be amended to name each such entity once identified through

 9   discovery.

10                                  III. JURISDICTION AND VENUE
11           38.     This action arises under the Lanham Trademark Act 15 U.S.C. §§ 1051 et seq. (the

12   “Lanham Act”). Accordingly, this Court has federal question jurisdiction over the subject matter

13   of this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a), (b). This Court

14   has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

15           39.     Venue in this district is proper under 28 U.S.C. § 1391(b)(2) in that a substantial

16   part of the events giving rise to the claims occurred in this district.

17           40.     This Court has personal jurisdiction over Defendants, all of whom have conducted

18   business activities in and directed to Washington and are primary participants in tortious acts in

19   and directed to Washington. By way of example only, Defendants Chris and Adam Bowser each

20   authorized and signed marketing materials sent to Washington residents advertising events held in

21   Washington, which materials improperly and without authorization used and displayed Amazon’s

22   trademarks for their personal benefit and the benefit of the corporate Defendants they control.

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 1
                IV. AMAZON’S MARKS AND ITS THIRD-PARTY SELLER SERVICES
 2
     A.        The Amazon Marks.
 3
               41.     Amazon annually spends significant time, money, and effort advertising and
 4
     promoting the products and services on which its trademarks are used. Through these and other
 5
     investments in its customers’ trust, Amazon has developed a reputation for quality products and
 6
     services.
 7
               42.     For hundreds of millions of consumers, the names “Amazon” and “Amazon.com”
 8
     have come to represent wide selection, fast delivery, everyday low pricing, outstanding customer
 9
     service, and unsurpassed trust for Internet commerce. There is a close association among
10
     consumers between Amazon.com the business, its trademarks, and the products and services it
11
     offers.
12
               43.     Amazon publishes an easily accessible non-exhaustive list of its registered
13
     trademarks on its website. 4 Included among that list are references to the following registered
14
     marks at issue in this lawsuit (the “Amazon Marks”):
15
               Mark                             Registration Number/s
16

17             AMAZON                           5102687; 4907371; 4533716; 4656529; 5281455;
                                                2657226; 2738838; 2738837; 2832943; 3868195;
18                                              4171964; 2857590; 2078496

19             FBA                              4621427; 4621428
20             AWS                              3576161
21
                                                5038752; 4171965
22

23                                              4841614; 2951941

24                                              5129530; 5100558; 4969037; 3911425; 3904646;
                                                4067393
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26         https://www.amazon.com/gp/help/customer/display.html/?nodeId=200738910.


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 1          44.     Amazon Technologies, Inc. is the owner and registrant of the Amazon Marks.

 2   Amazon Technologies, Inc. is a wholly-owned subsidiary of Amazon and has authorized use of

 3   the Amazon Marks by Amazon’s other subsidiaries.

 4          45.     Amazon has continuously used these marks to distinguish its products and services.

 5   As a result of Amazon’s long-standing use of the Amazon Marks, strong common law trademark

 6   rights have amassed in the Amazon Marks. Amazon’s use of the marks has also built substantial

 7   goodwill in and to the Amazon Marks.

 8          46.     Through Amazon’s advertisement and promotion and the high level of recognition

 9   by the general consuming public of the United States, the Amazon Marks are famous and became

10   famous prior to Defendants’ illegal acts—indeed, the Amazon Marks were famous before any of

11   the corporate Defendants were incorporated. The Amazon Marks are famous by virtue of their

12   inherent distinctiveness and secondary meaning as a designation of the source of the trust that

13   consumers can place in purchasing from Amazon and by their continuous use since Amazon’s

14   founding in 1994.

15          47.     Today, the Amazon Marks are well known by the general consuming public of the

16   United States. Moreover, due to Amazon’s advertisement and promotion of the Amazon Marks,

17   consumers have come to recognize the Amazon Marks as a symbol of the trustworthiness of the

18   products and services bearing the Amazon Marks, and further, associate the Amazon Marks solely

19   with Amazon and its high quality goods and services.

20          48.     The Amazon Marks are valuable assets of Amazon. To protect that value and

21   maintain the positive association between the Amazon Marks and Amazon’s products and

22   services, Amazon only permits others to use its marks in limited circumstances and subject to

23   explicit guidelines designed to avoid consumer confusion.

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 1            49.      For example, with advance approval by Amazon, sellers may use Amazon’s

 2   “Available at Amazon” logo, provided that they adhere to strict guidelines that Amazon publishes

 3   on its website. Amazon’s Trademark Usage Guidelines 5 include the following terms:

 4            •     “You may use the [Available at Amazon] Mark solely for the purpose
                    expressly authorized by Amazon in writing and your use must: (i) comply
 5
                    with the most up-to-date version of these Guidelines; and (ii) comply with any
 6                  other terms, conditions, or policies that Amazon may issue from time to time
                    that apply to the use of the Amazon Mark.”
 7
              •     “You may not alter the Amazon Mark in any manner, including but not
 8                  limited to, changing the proportion, color, or font of the Amazon Mark, or
                    adding or removing any element(s) to or form the Amazon Mark.”
 9
10            •     “You may not use the Amazon Mark in any manner that implies
                    sponsorship or endorsement by Amazon other than by using the Amazon
11                  Mark as specifically authorized in writing by Amazon.” (Emphasis
                    added.)
12
              50.      Defendants have made extensive and systematic use of the Amazon Marks without
13
     Amazon’s authorization in order to misleadingly promote their own products and services as
14
     Amazon products and services. In addition to the various examples of this unauthorized use in
15
     marketing and other materials provided to FBA-Stores students (described throughout the
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26        Available at https://www.amazon.com/gp/help/customer/display.html?ie=UTF8&nodeId=201713630.


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 1   remainder of this Complaint), the following is just a small sample found on Defendants’ various

 2   websites: 6

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25     E.g., www.amazonwealthsystems.com, www.amazonworkshop.com, www.liveamazonworkshop.com,
     www.sellingwithamazon.com, www.fbastores.com, www.fbadistributors.com, www.fbadistribution.com,
26   www.FBAworkshop.com.


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 1             51.      Defendants’ use of the Amazon Marks is pervasive and intended and highly likely

 2   to confuse and mislead prospective Amazon Sellers into believing that Defendants’ products and

 3   services are affiliated with, endorsed by, or sponsored by Amazon.

 4   B.        Selling on Amazon and the Amazon Services Business Solutions Agreement (“BSA”).
 5             52.      Anyone interested in selling products in the Amazon marketplace must first create

 6   a Selling on Amazon account using Amazon’s Seller Central, the Web interface where Sellers

 7   open and manage their selling account. Sellers also must agree to the Amazon Services Business

 8   Solutions Agreement (“BSA”), which governs Seller access to and use of Amazon’s services and

 9   sets forth Amazon’s rules and restrictions for selling through the website.

10             53.      A copy of the BSA is attached hereto as Exhibit 1. 7 The BSA identifies Amazon

11   Services LLC as the “Amazon Contracting Party” for the services at issue here. By agreeing to the

12   BSA, Sellers also agree to be bound by all applicable Program Policies, defined as:

13                      [A]ll terms, conditions, policies, guidelines, rules, and other
                        information on the applicable Amazon Site, on Seller Central, or on
14
                        the MWS Site, including those shown on the “Policies and
15                      Agreements” section of Seller Central or elsewhere in the “Help”
                        section of Seller Central (and, for purposes of the Fulfillment by
16                      Amazon Service, specifically including the FBA Guidelines).

17             54.      Once a Seller is registered, Selling on Amazon is a simple process involving three

18   main components: listing, selling, and shipping.

19             55.      In order to sell a product on the Amazon Marketplace, the Seller must first create a

20   listing accurately identifying the product for sale. Each product sold on Amazon.com is assigned

21   and identified by a unique Amazon Standard Identification Number, or ASIN.

22             56.      It is critical for product listings to be accurate; Amazon.com customers expect that

23   they will get what they ordered. The requirement for “accurate and complete” product listings is

24   incorporated into the “Selling on Amazon Service Terms” section of the BSA.

25
      7
26        Also available at https://sellercentral.amazon.com/gp/seller/registration/participationAgreement.html.


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 1             57.     Once listed, a Seller’s products become visible to customers on Amazon.com and

 2   can be bought through Amazon’s standard process, which includes features like 1-Click buying

 3   and Amazon’s A-to-z Guarantee. Amazon has invested significant time, effort, and resources to

 4   develop a brand that millions of people trust and customers have come to expect that they can

 5   make quick, easy, and worry-free purchases on Amazon.com, regardless of the source of the

 6   product being sold.

 7             58.     To help shoppers make informed purchasing decisions, Amazon encourages its

 8   customers to review the products they purchase and publishes these customer reviews on the

 9   product detail pages. In order to review a product, an individual must be an Amazon customer and

10   must have an Amazon account. Amazon expressly prohibits paid reviews, as stated in its policy

11   on Prohibited Seller Activities and Actions. 8 Amazon’s Customer Review Creation Guidelines,

12   which are incorporated into its Conditions of Use, also prohibit paid reviews. 9

13             59.     Consumers rely on this customer feedback and trust that these reviews will be

14   honest, helpful, and authentic.

15             60.     Amazon takes the integrity of its customer reviews very seriously. Amazon has

16   developed sophisticated technologies and protocols to detect and remove false, misleading, and

17   inauthentic reviews from its website and suspends sellers that post or purchase fake reviews.

18   Amazon also has taken legal action against those who offer to supply paid reviews.

19             61.     Once a customer places an order, Amazon notifies the Seller. Orders are then

20   fulfilled in one of two ways: by the Seller itself or by Amazon, if the Seller is using Amazon’s

21   FBA Service.

22

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         Available at
25   https://www.amazon.com/gp/help/customer/display.html/ref=hp_rel_topic?ie=UTF8&nodeId=200414320.
       9
26         Available at https://www.amazon.com/gp/aw/help/id=201602680.


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                           V.    DEFENDANTS’ UNLAWFUL ACTIVITIES
 1
     A.     Defendants Pose as Amazon to Lure in Potential Victims of their Scheme.
 2
            62.     Defendants market and sell a number of products and services that depend on
 3
     Amazon for their existence and appeal – without Amazon and the Amazon Seller ecosystem, there
 4
     would be no market for Defendants’ products and services.
 5
            63.     FBA-Stores’ primary line of business relates to the Amazon training packages it
 6
     sells to its students, all of whom Defendants seek payment from as prospective Amazon “Student”
 7
     Sellers. One or more of the Defendants also sell wholesale products to FBA-Stores’ students and
 8
     sell certain fulfillment services to students who want FBA-Stores to handle shipping of those
 9
     products to Amazon’s fulfillment centers, for further processing by Amazon’s FBA service.
10
            64.     Defendants’ business model depends on and starts with its mass marketing
11
     campaigns. FBA-Stores maintains contact information for more than 100,000 people in its
12
     database, called “Infusion.” Defendants use aggressive and misleading marketing tactics to
13
     generate interest in their products and services, including by creating and fostering an impression
14
     of endorsement or sponsorship by Amazon through systematic and pervasive unauthorized use of
15
     Amazon’s intellectual property.
16
            65.     FBA-Stores and its affiliates advertise their free Amazon workshops throughout the
17
     country. They promote these workshops through direct mail fliers, spam email invitations, and
18
     advertisements in newspapers, on Facebook and other media. Upon information and belief,
19
     dozens of such presentations are made each week. Representative examples of the direct mail
20
     fliers – which use the Amazon Marks without Amazon’s permission – are collected at Exhibit 2.
21
            66.     As part of its direct mailers, FBA-Stores typically includes two complimentary
22
     “VIP Tickets” to attend a free 2-hour presentation. Recipients of this “SPECIAL INVITATION”
23
     … “to attend an exclusive LIVE AMAZON WORKSHOP” can choose from several presentation
24
     times and places, generally held in a hotel in one of several cities within driving distance. For
25
     example, Defendants advertised, and conducted, multiple sessions in Bellevue, Bellingham,
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 1   Everett, and Redmond between July 5 and July 9, 2017, additional presentations in Kennewick,

 2   Yakima, Wenatchee, and Spokane between September 5 and September 9, 2017, and further

 3   presentations in Seattle, Bellevue, Bellingham, Bothell, Everett, Tacoma, Tumwater, and

 4   Redmond between November 7 and November 11, 2017.

 5             67.     As shown by these examples, the tickets Defendants print and circulate for their

 6   events prominently display the Amazon logo, without any mention of any other organization:

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18             68.     The accompanying flier reinforces the false and misleading impression of
19   endorsement or sponsorship by Amazon. For example, the Amazon logo appears on the front
20   cover, along with the registered mark “AWS” 10 and an image of a truck with “Fulfillment by
21   Amazon” printed on its side:
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26         As noted above, “AWS” is a registered Amazon trademark, used in connection with Amazon Web Services.


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13          69.     Each direct mailer is signed by either Chris Bowser or Adam Bowser. On

14   information and belief, the Bowsers have authorized the content of such marketing materials and

15   have directed that they be sent to prospective FBA-Stores students throughout the country,

16   including in Washington State. For example, Chris Bowser signed a mailer sent to Washington

17   residents that advertised presentations in Bellevue, Redmond, Bellingham, and Everett. In it, he

18   wrote: “My name is Chris Bowser…. I am coming to the Seattle area to share my secrets for

19   making money on Amazon.” (Emphasis in original.) A few months later, Adam Bowser signed

20   off on a similar mailer sent to Washington residents that advertised presentations in Seattle,

21   Tacoma and Tumwater, with nearly identical language: “My name is Adam Bowser…. I’m

22   going to be hosting a few local workshops around the Seattle area to share my secrets for making

23   money on Amazon.” (Emphasis in original.)

24          70.     Like the direct mailers, other advertisements for Defendants’ free presentations

25   similarly use one or more of the Amazon Marks, without authorization, to create a false

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 1   impression of association with, or endorsement by, Amazon with the goal of exploiting the

 2   Amazon brand to increase sales of their own products and services.

 3          71.    Because of Defendants’ unauthorized use of the Amazon Marks many FBA-Stores

 4   students believe that Amazon is the source of these marketing materials and that Amazon itself is

 5   conducting, endorsing or sponsoring the advertised presentations.

 6          72.    Upon arrival, students are routinely greeted by large signs that display one or more

 7   of the Amazon Marks, like these signs from two recent free presentations:

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 1          73.     The sign provides no indication that the presentation is hosted by a company

 2   without any affiliation with Amazon. To the contrary, the sign creates the false impression of

 3   endorsement or sponsorship by Amazon.

 4          74.     More than 50, and up to or more than 100 people, often attend the free

 5   presentations. The goal of these presentations is to upsell a follow-on 3-day workshop, which

 6   FBA-Stores generally sells for $995 for one person and a guest (or $495 for one person). Those

 7   who sign up for the 3-day workshop receive additional “training” materials, loaded onto an

 8   Amazon Kindle, flash-drive, and set of DVDs. As with the signage, the DVD box covers use the

 9   Amazon Marks without authorization and are on prominent display at the presentations:

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            75.     Even after sitting through the free 2-hour presentation, many students continue to
20
     believe that the presentation was hosted, endorsed, or sponsored by Amazon.
21
     B.     Upselling FBA-Stores’ 3-Day Training Workshops.
22
            76.     FBA-Stores regularly hosts its 3-day workshops in multiple cities around the
23
     country. The 3-day workshops typically take place within one to two weeks after the 2-hour
24
     presentations, in a location within driving distance of the free feeder presentations.
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 1          77.     As with the free presentations, upon arrival, students are routinely greeted by the

 2   same large sign displaying the Amazon Marks, as depicted above. Again, the sign provides no

 3   indication that the 3-day workshop is hosted by a company with no affiliation with Amazon, but

 4   instead continues to reinforce the false impression of endorsement or sponsorship by Amazon.

 5          78.     FBA-Stores has sold its 3-day workshops to several thousand Amazon Sellers and

 6   prospective Sellers, a large percentage of whom believed they were buying services provided by,

 7   or at the very least endorsed or sponsored by, Amazon.

 8   C.     Defendants Teach FBA-Stores Students How to Violate Amazon’s Seller Contract.
 9          79.     As noted above, students who attend the 3-day workshop receive a set of DVDs

10   that provide additional information.

11          80.     At various times, on the cover of the DVD boxes, Defendants have printed

12   Amazon’s registered mark “FBA” above the words “Fulfillment by Amazon” and next to a logo of

13   a bent arrow that is purposefully created to reflect Amazon’s “smile” design mark:

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            81.     At other times, Defendants have used Amazon’s registered mark “AWS,” the
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     Amazon logo, and the phrases “Fulfillment by Amazon” and “Amazon Wealth Systems” on the
21
     cover of the DVD boxes, in connection with the same training workshops and materials:
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10          82.     Some of the videos included on the DVDs are narrated by Chris Bowser. Others
11   are narrated by Adam Bowser.
12          83.     The DVD titled “Getting Started on FBA” is narrated by Chris Bowser. In the
13   video, he explains how to open a Seller account using Amazon’s Seller Central interface,
14   instructing the viewer to check the box indicating acceptance of the BSA terms – “you are going
15   to accept the terms of Amazon’s agreement.”
16          84.     Although Defendants are aware of the BSA and explain that their student Sellers
17   must “accept the terms of Amazon’s agreement,” Defendants repeatedly instruct their student
18   Sellers to violate the terms of the BSA in numerous ways.
19          85.     Defendants intend for these materials and the information contained therein to be
20   shared with FBA-Stores’ students located throughout the country, including in Washington State.
21   D.     Defendants Instruct Students to Obtain Fraudulent Product Reviews in Violation of
            Amazon’s BSA.
22
            86.     The set of 3 DVDs titled “Private Labeling” also is narrated by Chris Bowser.
23
            87.     The third Private Labeling DVD addresses the importance of product reviews. In
24
     that DVD, Chris Bowser instructs FBA-Stores students how to obtain fraudulent product reviews,
25
     in violation of Amazon’s policies in three different ways.
26

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 1            88.      First, he suggests that students obtain 15 reviews from friends and family, with

 2   instructions designed to circumvent certain of Amazon’s automatic fraud detection devices

 3   (“understand this, you cannot have like fifteen people come to your computer and buy that

 4   product, they have to be on different computers, different networks, and that type of stuff”).

 5            89.      Second, he offers to help procure positive reviews through the FBA-Stores student

 6   network:

 7                     And, if you ever need help with something like that and you need
                       reviews like that, contact me. I can send out a quick email to you
 8
                       know some of our - my coaching students if you’re doing products
 9                     for free. The advantage you have is that you are now part of a
                       network. Send me an email and say “Hey Chris, I’ve got this new
10                     product up on Amazon, can you do me a favor and blast like twenty-
                       five people for me and have them get the products” -- either have
11                     them buy it for the cost or give it to them for free but they will go on
                       and leave reviews. They would do it for you and you will do it for
12
                       them. That’s the benefit of our relationship.
13            90.      Third, he even encourages students to buy fraudulent positive reviews, including
14   from a company he knows Amazon sued for selling fraudulent reviews:
15
                       And here’s a sneaky little trick a lot of people don’t know about.
16                     Another thing you can do is buy reviews. I don’t know how much
                       longer this is going to be around for; they’re actually currently being
17                     sued by Amazon. … So if you can’t find people to get reviews for
                       you, you can actually go to BuyAmazonReviews.com and these
18                     people will leave you good reviews. Again, I don’t know how much
19                     longer this is going to be around for. If not this site there’ll be
                       another site. (Emphasis added.)
20
              91.      Amazon’s Anti-Manipulation Policy for Customer Reviews prohibits the type of
21
     review manipulation Defendants are teaching. 11 Amazon also advises that Seller accounts may be
22
     suspended or terminated for violation of this policy and that Sellers who attempt to purchase
23
     fraudulent reviews may be subject to legal action:
24
       11
25       Available at https://www.amazon.com/gp/help/customer/display.html?nodeId=201749630 (“Any attempt to
     manipulate reviews, including by directly or indirectly contributing false, misleading or inauthentic content, is strictly
26   prohibited.”)


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                       We pursue lawsuits for reviews manipulation against dishonest
 1                     sellers and manufacturers who attempt to purchase fraudulent
 2                     reviews and the parties who provide and post those reviews.
               92.     Defendants are aware of these terms and conditions when they instruct FBA-Stores
 3
     students to obtain fraudulent product reviews for their Amazon stores. Upon information and
 4
     belief, FBA-Stores and the Bowsers are not honest or transparent about Amazon’s policies, so
 5
     many of their students are not aware they are taking, or authorizing FBA-Stores to take on their
 6
     behalf, actions that violate Amazon’s policies.
 7

 8   E.        Defendants Instruct Students to Create Multiple Seller Accounts in Violation of
               Amazon’s BSA.
 9             93.     At the 3-day workshops, at the Bowsers’ direction and with their knowledge,
10   presenters encourage students to create multiple Amazon stores to increase their sales, knowing
11   that such conduct would be a violation of the students’ Seller contract with Amazon, the BSA.
12   Amazon’s policy for Prohibited Seller Activities and Actions on its website are incorporated by
13   reference in the BSA as part of the applicable Program Policies. 12 The policy strictly prohibits
14   multiple seller accounts without express permission from Amazon:
15
                       Multiple seller accounts:
16                     Operating and maintaining multiple Seller Central accounts is
                       prohibited. If you have a legitimate business need for a second
17                     account, you can apply for an exception to this policy[.]
18             94.     As part of the “Diamond” level coaching package (available for an additional fee as

19   discussed below), students are told that FBA-Stores will help them create a second store set up on

20   a second computer so that Amazon will never link the two accounts to the same Seller. FBA-

21   Stores’ written materials state this explicitly:

22                     Bonus #4: 2nd Store Setup in Boston with fully loaded laptop & Mifi
23                     • We create your 2nd Amazon store so that you can double your income
                          and sell your products twice as fast….
24                     • We provide you with the 2nd computer to run and manage your
                          business from so that you don’t link both accounts together. We show
25
       12
26          https://www.amazon.com/gp/help/customer/display.html/ref=hp_rel_topic?ie=UTF8&nodeId=200414320.


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                             you how to keep everything separate so Amazon will never link your
 1                           accounts. 13
 2             95.       FBA-Stores advises students to take the following precautions “so Amazon will
 3   never link your accounts”: use a different name for the second store; open the second store in the
 4   name of a family member; use a different email address; and use different banking information.
 5   F.        Upselling FBA-Stores’ “Continuing Education” Programs.
 6             96.       In addition to the 3-day workshops, FBA-Stores also sells various additional
 7   training programs, currently packaged as “Continuing Education: Advanced Education Programs.”
 8   FBA-Stores offers at least four program levels at a cost of $4,995 to $34,995: Diamond, Platinum,
 9   Gold, and Wholesale. 14
10             97.       When FBA-Stores makes the pitch to sell these packages on the last day of the 3-
11   day workshop, a large percentage of FBA-Stores students believe that they are dealing with
12   Amazon or at least a company endorsed or sponsored by Amazon.
13             98.       FBA-Stores has at various times provided a hand-out to its students towards the end
14   of the 3-day workshop listing the benefits of its Diamond-level package, using Amazon’s
15   registered mark “FBA” above the words “Fulfillment by Amazon” and next to a logo of a bent
16   arrow that looks confusingly similar to Amazon’s “smile” design mark:
17

18
19

20

21

22

23

24

25    13
           Exhibit 3.
      14
26         See Exhibits 3, 4, 5, and 6.


     AMENDED COMPLAINT - 28                                                  SUMMIT LAW GROUP PLLC
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 1              99.        The current “Diamond Enrollment” package costs $34,995 15 and includes the

 2   following features:

 3                     •   16 Personal 1 on 1 Coaching Sessions
 4                            o Held every week at a scheduled time with our Amazon Coach
                       •   Access to FBA Stores Angel Supplier Rolodex
 5                            o Lifetime supply of product with great deals for your store
                       •   FBA Stores Deal Analysis & Partnering Program
 6                            o We will analyze any deal you get offered & partner with you on deals
 7                     •   Fulfillment by Adam (FBA)
                              o We fulfill any product orders to Amazon warehouses
 8                     •   3 Day “Amazon Summit” Trade Show Event
                              o Las Vegas ASD & CES Trade Show twice a year
 9                     •   Unlimited Access to “The Network”
                              o Wholesale products to & through our network of online sellers
10
                       •   Ungating: in 2 categories in first store
11
                100.       With respect to the last item on this list – “Ungating” – certain product categories
12
     are “gated,” meaning that Sellers must obtain approval from Amazon before listing products in
13
     those restricted product categories. A list of these categories and the specific requirements to
14
     obtain approval for each category are available online. 16
15
                101.       While the requirements vary by category, in general they are designed to ensure
16
     that the Seller and its products are reliable and genuine. Typically, this requires Sellers to have a
17
     verifiable history and to submit product invoices/receipts. At the workshops, students are told that
18
     FBA-Stores has “a whole department” that specializes in “ungating.” The function of this
19
     “department” is to convince Amazon to “ungate” product categories for new student Sellers, based
20
     on fraudulent documentation. FBA-Stores has neither the right to “ungate” any category or
21
     product nor the ability to do so without engaging in fraud.
22

23

24

25     15
            At times, the price will be reduced as an inducement to those unwilling to pay, or unable to afford, the full price.
       16
26          See https://www.amazon.com/gp/help/customer/display.html?nodeId=14113001.


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 1          102.       In order to create the appearance of legitimacy and demonstrate a track record of

 2   authentic sales, FBA-Stores will misrepresent to Amazon its own purchase and sale of genuine

 3   products as the student Sellers’. A presenter explained the process like this:

 4              FBA-Stores:           Let’s take a blender for instance. So, Blendtec, right? You
                                      want to sell the name-brand Blendtec Blender, you actually
 5
                                      have to have the receipts, you actually have to have the
 6                                    item. Amazon will go in – er, FBA – will go in, actually
                                      purchase the items for you.
 7                                    …
                                      We’ll purchase the items for you, we’ll send you the actual
 8                                    receipts, although you never actually have to pay for them
                                      yourself.
 9
                                      …
10                                    We just take care of that cost. Now, you obviously don’t
                                      get the inventory associated with that.
11
                Student:              Yeah, you guys would sell that.
12
                FBA-Stores:           Yep, we take care of that. And then we sell that on our
13                                    own. But that’s like one of the ways that we would help
                                      you get things ungated. Is we take care of that.
14
            103.       To take advantage of certain aspects of this ungating service, students are told they
15
     need to provide FBA-Stores with remote access to their Amazon Seller accounts. This is so that
16
     Defendants can manipulate the approval process through fraudulent interactions with both
17
     Amazon and product manufacturers on the students’ behalf.
18
            104.       The current “Platinum Enrollment” package costs $19,995 and includes the
19
     following features:
20

21                 •   8 Personal 1 on 1 Coaching Sessions
                   •   Access to FBA Stores Angel Supplier Rolodex
22                 •   3 Day “Amazon Summit” Trade Show Event
23                 •   Unlimited Access to “The Network”

24

25

26

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 1              105.     Diamond- and Platinum-level students are invited to attend the annual CES and/or

 2   ASD trade shows in Las Vegas, ostensibly so that they can network with manufacturers and

 3   suppliers to find sources of product to sell on Amazon.com. At the so-called “Amazon Summit”

 4   trade show in Las Vegas that FBA-Stores offers to students who buy the most expensive Diamond

 5   or Platinum packages, attendees receive a notebook with the Amazon logo on the cover:

 6

 7

 8
 9
10

11

12
                106.     Defendants attempt to upsell to FBA-Stores students who attend these trade shows
13
     a “Master Mentor” program for an additional $20,000. Those who enroll in the program are
14
     promised special access to Chris Bowser and Adam Bowser, special product sourcing lists, and
15
     “master classes” held in various vacation destinations. Many students believe the Master Mentor
16
     provides little or no additional value.
17
                107.     The current “Gold Enrollment” package costs $9,995. It includes four coaching
18
     sessions, access to a supplier list, and access to “The Network.” At various times FBA-Stores has
19
     represented that the Gold-level package would provide students with “Immediate Access to
20
     Product With 20% Profit Margins.” 17
21
                108.     The “Wholesale Coaching” package costs $5,995. It includes two weeks of
22
     coaching, access to a supplier list, and a “deal analysis” feature.
23
                109.     The features offered for each package are believed to have changed over time. At
24
     various times FBA-Stores also has offered incentive bonuses to students who agree to buy the
25
       17
26          Exhibit 4.


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 1   upper level packages at the 3-day seminar. For example, at times FBA-Stores has offered the

 2   following “Act Now Bonuses” to students who purchase the Diamond level package:

 3                  •   Bonus #1: Free $1500 Amazon Gross Sales Value Goods
 4                  •   Bonus #2: TWO Days in Boston with Chris and Adam’s Team
                    •   Bonus #3: Private Labeling Marketing Campaign
 5                         o The opportunity to sell a product with 100%+ markup with NO competition
                    •   Bonus #4: 2nd Store Setup in Boston with fully loaded laptop & Mifi
 6                  •   Bonus #5: Elite Coaching Hotline 18
 7             110.     The individual 1-on-1 coaching sessions typically take place over the phone. They
 8   may also involve instruction through computer screen-sharing. Upon information and belief,
 9   FBA-Stores has at times hired coaches with little or no experience or specialized training, leading
10   to frequent complaints by FBA-Stores students that they receive little to no value from the
11   coaching component of these expensive packages. Upon information and belief, the main
12   qualification for coaches appears to be that they themselves have registered as an Amazon Seller.
13   Upon information and belief, FBA-Stores coaches historically have been independent contractors
14   who work out of their homes and are paid by OALC. Upon information and belief, FBA-Stores
15   recently brought some of its coaches in-house such that they operate out of Defendants’ Boston-
16   area warehouse.
17
     G.        Defendants Misrepresent the Wholesale Products They Sell to FBA-Stores Students.
18             111.     In order to further entice its students to purchase one of the above-described
19   Continuing Education packages, FBA-Stores represents that it has a special relationship with
20   Amazon and access to valuable inside information based on that relationship. For example, FBA-
21   Stores has misrepresented that it has unique access to secret lists of high-demand products that
22   Amazon supposedly wants more of its Sellers to sell. FBA-Stores has misrepresented to its
23   students that it can provide access to products with guaranteed profit margins of 15% - 30% (and
24

25
      18
26         Exhibit 3.


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 1   even up to 100%), with the higher margin products available only to students who purchase the

 2   most expensive packages.

 3          112.    Upon information and belief, one or more of the corporate Defendants acquire

 4   wholesale products to sell to FBA-Stores students from overseas, often purchasing containers of

 5   product from China. These products are then stored in one or more warehouses in the Boston

 6   area, Las Vegas, or Hicksville, NY, which are owned by FBA-Stores or one of the other

 7   Defendants.

 8          113.    Upon information and belief, Defendants intentionally or negligently misrepresent

 9   the products they have sold and continue to sell to FBA-Stores students. By way of example only

10   and without limitation, upon information and belief one or more of the corporate Defendants have

11   sold used or refurbished products to FBA-Stores’ students as new (e.g., Nikon cameras, cell

12   phones), have sold counterfeit or knock-off products as brand name products (e.g., Garden Genie

13   gloves and Rawlings baseball helmets), and have sold “original” series product as “pro” series

14   (e.g., CopperFit ankle braces/sleeves).

15          114.    Upon information and belief, in each such case FBA-Stores students pay for the

16   more expensive product but receive the cheaper product, enriching Defendants at the students’

17   expense. As explained in the next section, this same deception is then repeated when FBA-Stores

18   lists these products for sale on Amazon.com on behalf of its students as part of FBA-Stores’

19   shipping and handling service, compounding the problem and causing additional harm to Amazon,

20   its customers and other Sellers.

21          115.    FBA-Stores students report that Defendants’ deliveries are often delayed and that

22   by the time the products finally arrive, the price at which they are selling on Amazon.com has

23   dropped, forcing students to sell their products for little or no profit, or even at a loss. Because

24   Defendants sell the same products to their students delivered at or near the same point in time, the

25   market becomes flooded, driving down prices as students are pitted against other students as a

26   function of the program Defendants have designed. This practice results in many students being

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 1   unable to recoup their investments. Defendants know that their students cannot sell or realize any

 2   meaningful profit from these products, despite Defendants’ promises to the contrary.

 3   H.     Defendants Improperly Facilitate Financing so FBA-Stores Students Can Pay for
            their Products and Services.
 4
            116.    At the 3-day workshops, FBA-Stores instructs its students on various methods to
 5
     pay for its coaching packages and buy wholesale products from Defendants.
 6
            117.    For example, upon information and belief, FBA-Stores has at various times had an
 7
     arrangement with certain third-parties including Average Joe Funding, Seed Capital, and others to
 8
     facilitate financing. Upon information and belief, these third-parties are owned and operated by
 9
     friends or family of the Bowsers.
10
            118.    Upon information and belief, with Defendants’ knowledge, consent and complicity,
11
     these third-parties have helped students apply for multiple credit cards with low introductory rates.
12
     By submitting multiple credit card applications simultaneously, Defendants make it difficult for
13
     credit reporting agencies to provide the card-issuing financial institutions with accurate real-time
14
     information. Students are charged significant fees for this service and are told not to disclose to
15
     the credit-card issuers that they are working with these third-party financing facilitators. These
16
     third-parties have at times submitted credit card applications without a valid signature of the
17
     student applicant.
18
            119.    At other times, presenters at the 3-day workshops have instructed the students to
19
     apply for multiple credit cards on their own. Presenters also have instructed students to falsely
20
     misrepresent their current income level on credit card applications, insisting that $110,000 is a
21
     “good number” to use since that is what the students will be making through Defendants’
22
     program.
23
            120.    Many students who rely on the easy credit promoted by Defendants and their third-
24
     party financing partners amass large debts that become especially burdensome when low
25
     introductory rates expire.
26

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 1             121.   FBA-Stores also promotes other techniques for financing student purchases of

 2   Defendants’ products and services, including but not limited to accessing value in their 401k

 3   retirement accounts and taking a second home mortgage – because (according to Defendants)

 4   home equity is not actually “working for” the students, but is just “sitting there.”

 5             122.   Upon information and belief, many students have been duped into borrowing large

 6   sums of money to pay for Defendants’ products and services. Many have been retirees on fixed

 7   budgets and others who similarly could not afford for the investment to fail. In an effort to recoup

 8   some of their losses and escape the significant debt burden Defendants’ conduct had created, upon

 9   information and belief, some of these students took Defendants’ advice to increase sales in ways

10   prohibited by Amazon’s Seller policies. In some cases, following this advice resulted in

11   suspension or termination of the students’ Amazon Seller accounts.

12   I.        FBA-Stores Misrepresents Product Listings on Amazon.com Through Its Shipping
               and Handling Service (aka “Fulfillment by Adam”) in Violation of Amazon’s BSA.
13
               123.   Upon information and belief, FBA-Stores uses the term “FBA” to refer not only to
14
     Amazon’s fulfillment service, but also its own fulfillment service, sometimes described as
15
     “Fulfillment by Adam.” As part of this service – offered as part of the Diamond-level package
16
     discussed above – FBA-Stores labels, packs, and ships products to Amazon’s fulfillment centers
17
     on behalf of its Amazon Seller students. FBA-Stores provides this service for little or no charge 19
18
     for products that students purchase directly from Defendants. For products sourced from unrelated
19
     third-parties, FBA-Stores charges an additional fee per item.
20
               124.   As part of FBA-Stores’ fulfillment services, Defendants obtain access to the
21
     students’ Amazon Seller Accounts on Seller Central. Defendants then list the products being
22
     shipped to Amazon’s fulfillment centers.
23

24

25
          19
        Cost is believed to vary depending on what coaching package the Student has purchased and due to changing
26   FBA-Stores policies over time.


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 1             125.    Whether intentionally or negligently, FBA-Stores’ process results in providing

 2   false and misleading product information to its students who rely on that information in making

 3   purchasing decisions. FBA-Stores compounds this problem by providing false and misleading

 4   product descriptions in the listings it prepares for its students and provides to Amazon on the

 5   students’ behalf.

 6             126.    Amazon and its customers rely on the accuracy of the product listing information

 7   provided by Sellers who use Amazon’s FBA service and those providing such information on

 8   behalf of its Sellers. Amazon relies on the accuracy of the listing information both to track

 9   incoming shipments and for posting the listed products on Amazon.com once the product becomes

10   available for shipment by Amazon through its FBA service upon intake at one of Amazon’s

11   fulfillment centers.

12             127.    Amazon publishes its policy for Prohibited Seller Activities and Actions on its

13   website, which are incorporated by reference in the BSA. 20 The policy prohibits Sellers from

14   providing false or misleading information when listing items for sale on Amazon.com.

15             128.    Amazon also publishes Condition Guidelines that require accurate listing of a

16   product’s condition. 21

17             129.    Customers expect to receive authentic and accurately-described products when they

18   shop on Amazon.com. While customers can always return the product and receive a refund if not

19   satisfied with their purchase, such experiences have a tendency to tarnish Amazon’s reputation and

20   also can result in low ratings or reviews for the associated Seller. Returns, low ratings, and bad

21   reviews can reduce Seller profits and impact future sales.

22             130.    If an Amazon Seller receives excessive customer complaints or is linked to the sale

23   of counterfeit products, the Seller’s account can be suspended or terminated. Many FBA-Stores

24
       20
            https://www.amazon.com/gp/help/customer/display.html/ref=hp_rel_topic?ie=UTF8&nodeId=200414320.
25
       21
         https://www.amazon.com/gp/help/customer/display.html/ref=help_search_1-
26   2?ie=UTF8&nodeId=1161242&qid=1502998363&sr=1-2#GCG.


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 1   student Sellers have had their accounts suspended or terminated because of improper guidance by

 2   Defendants, compounding the financial problems created for student Sellers by Defendants.

 3   J.        Impact on Students’ Amazon Seller Accounts.
 4             131.   Internal analysis shows that FBA-Stores’ student Sellers are more likely than other

 5   third party sellers on Amazon to experience problems with their Amazon Seller accounts. More

 6   than a quarter of FBA-Stores accounts identified by Amazon have received warnings from

 7   Amazon or been suspended, including for possible trademark infringement, suspicion of product

 8   review abuse, poor delivery performance, high order defect rates, or other violations of Amazon’s

 9   BSA and incorporated Seller policies. The FBA-Stores accounts identified by Amazon have also

10   performed worse than other Amazon sellers, as demonstrated by their higher-than-average rate of

11   customer returns and lower average sales volume and revenue.

12                                       VI. CAUSES OF ACTION
13                                    Count I: Trademark Infringement
                                     (Lanham Act § 32; 15 U.S.C. § 1114)
14
               132.   Plaintiffs incorporate by reference the allegations of each and every one of the
15
     preceding paragraphs as though fully set forth herein.
16
               133.   The Amazon Marks are valid, distinctive, protectable marks that have been
17
     registered as trademarks on the principal register in the United States Patent and Trademark
18
     Office.
19
               134.   Amazon Technologies, Inc. is the owner and registrant of the Amazon Marks.
20
               135.   Defendants have used the Amazon Marks without authorization in commerce in
21
     connection with the sale of their products and services in a manner that is designed, intended, and
22
     likely to cause confusion or to cause mistake or to deceive consumers as to the origin, source,
23
     sponsorship or affiliation of Defendants’ goods and services, and is designed, intended, and likely
24
     to cause consumers to believe, contrary to fact, that Defendants’ goods or services are sold,
25
     authorized, endorsed, or sponsored by Amazon, or that Defendants are in some way affiliated with
26

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 1   or sponsored by Amazon. Defendants Chris Bowser and Adam Bowser each have authorized,

 2   directed, and/or personally participated in these acts, as outlined above.

 3          136.    Defendants’ conduct constitutes trademark and service mark infringement in

 4   violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

 5          137.    Upon information and belief, Defendants have committed the foregoing acts of

 6   infringement with full knowledge of Plaintiffs’ rights in the Amazon Marks and with the willful

 7   and deliberate intent to cause confusion and trade on Amazon’s goodwill.

 8          138.    Defendants’ unauthorized and unlawful conduct is causing immediate and

 9   irreparable harm to Plaintiffs, including to Amazon’s goodwill and reputation, and will continue to

10   both damage Plaintiffs and confuse the public unless enjoined by this Court, including an order of

11   destruction of all of Defendants’ infringing materials. Plaintiffs have no adequate remedy at law.

12   Plaintiffs are entitled to, among other relief, injunctive relief and an award of actual damages,

13   Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees, and costs of the

14   action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

15   prejudgment and post-judgment interest.

16                       Count II: False Association/Federal Unfair Competition
                               (Lanham Act, § 43(a); 15 U.S.C. § 1125(a))
17
            139.    Plaintiffs incorporate by reference the allegations of each and every one of the
18
     preceding paragraphs as though fully set forth herein.
19
            140.    Defendants’ unauthorized use in commerce of the Amazon Marks as alleged herein
20
     is designed, intended, and likely to deceive consumers as to the origin, source, sponsorship, or
21
     affiliation of Defendants’ goods and services, and is designed, intended, and likely to cause
22
     consumers to believe, contrary to fact, that Defendants’ goods and services are sold, authorized,
23
     endorsed, or sponsored by Amazon, or that Defendants are affiliated with or sponsored by
24
     Amazon. Defendants Chris Bowser and Adam Bowser each have authorized, directed, and/or
25
     personally participated in these acts, as outlined above.
26

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 1          141.    Defendants’ conduct as alleged herein constitutes unfair competition in violation of

 2   Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

 3          142.    Upon information and belief, Defendants’ conduct as alleged herein is willful and

 4   is intended to and is likely to cause confusion, mistake, or deception as to the affiliation,

 5   connection, or association of Defendant with Amazon.

 6          143.    Defendants’ conduct as alleged herein is causing immediate and irreparable harm

 7   and injury to Plaintiffs, including to Amazon’s goodwill and reputation, and will continue to both

 8   damage Plaintiffs and confuse the public unless enjoined by this Court. Plaintiffs have no

 9   adequate remedy at law.

10          144.    Plaintiffs are entitled to, among other relief, injunctive relief and an award of actual

11   damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees, and costs

12   of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

13   prejudgment and post-judgment interest.

14                           Count III: False Advertising/Unfair Competition
                                (Lanham Act § 43(a); 15 U.S.C. § 1125(a))
15
            145.    Plaintiffs incorporate by reference the allegations of each and every one of the
16
     preceding paragraphs as though fully set forth herein.
17
            146.    Defendants’ unauthorized use in commerce of Amazon’s Marks as alleged herein
18
     in combination with the Defendants’ conduct in, among other things: 1) creating or causing
19
     consumers to create false product reviews on Amazon’s ecommerce marketplace; 2) creating or
20
     causing consumers to create multiple Amazon seller accounts for the purpose of deceiving
21
     Amazon and consumers; 3) misrepresenting wholesale products sold to consumers for the purpose
22
     of reselling the products with inaccurate descriptions on Amazon’s ecommerce marketplace; and
23
     4) misrepresenting products and services on Amazon’s ecommerce marketplace for the purpose of
24
     deceiving or confusing Amazon and consumers, constitutes use of a false designation of origin and
25
     misleading description and representation of fact, and constitutes unfair competition in violation of
26

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 1   Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B). Defendants Chris Bowser and

 2   Adam Bowser each have authorized, directed, and/or personally participated in these acts, as

 3   outlined above.

 4          147.    Defendants’ unauthorized use of Amazon’s Marks in combination with their

 5   conduct and statements as alleged herein deceived or had the capacity to deceive Amazon, its

 6   Sellers, and its customers as to who the Sellers of the services and products are and whether

 7   Defendants were selling genuine or quality products to its student Sellers, some of which

 8   Defendants then listed for sale on the Amazon marketplace on behalf of those Sellers for the

 9   purpose of deceiving Amazon and Amazon’s customers. Defendants’ deceptive acts were

10   material to Amazon’s decision to allow Defendants’ student Sellers to sell their goods on the

11   Amazon marketplace because Amazon would not have permitted them to sell Defendants’

12   counterfeit and/or mislabeled goods but for the deceptive acts.

13          148.    Defendants’ deceptive acts and statements were also material to Amazon’s

14   customers and likely to influence their buying decisions, because Amazon customers rely on

15   Amazon and Amazon Sellers to only sell genuine and accurately-advertised products. Upon

16   information and belief, Defendants’ conduct as alleged herein is willful and is intended to and is

17   likely to cause confusion, mistake or deception as to the affiliation, connection, or association of

18   Defendants with Amazon and constitutes willful false statements in connection with goods and/or

19   services distributed in commerce, in violation of Section 43(a) of the Lanham Act, 15 U.S.C.

20   § 1125(a).

21          149.    Defendants’ conduct as alleged herein is causing immediate and irreparable harm

22   and injury to Plaintiffs, including to Amazon’s goodwill and reputation, and will continue to both

23   damage Plaintiffs and confuse the public unless enjoined by this Court. Plaintiffs have no

24   adequate remedy at law.

25          150.    Plaintiffs are entitled to, among other relief, injunctive relief and an award of actual

26   damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees, and costs

     AMENDED COMPLAINT - 40                                                SUMMIT LAW GROUP PLLC
                                                                             315 FIFTH AVENUE SOUTH, SUITE 1000
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                                                                                      Fax: (206) 676-7001
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 1   of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

 2   prejudgment and post-judgment interest.

 3                       Count IV: Dilution and Tarnishment of a Famous Mark
                                (Lanham Act § 43(c); 15 U.S.C. § 1125(c))
 4
            151.    Plaintiffs incorporate by reference the allegations of each and every one of the
 5
     preceding paragraphs as though fully set forth herein.
 6
            152.    Without Amazon’s authorization, Defendants have used and are using the Amazon
 7
     Marks and confusingly similar marks to sell their products and services to Amazon Sellers and
 8
     those desiring to become Sellers on Amazon’s ecommerce marketplace. Defendants have used the
 9
     Amazon Marks and confusingly similar marks in interstate commerce, wrongfully capitalizing on
10
     Amazon’s reputation and goodwill to induce Amazon Sellers or potential Sellers to buy their
11
     products and services. Defendants Chris Bowser and Adam Bowser each have authorized,
12
     directed, and/or personally participated in these acts, as outlined above.
13
            153.    The Amazon Marks are distinctive and familiar to millions of Amazon’s customers
14
     and identified with Amazon’s goods and services. They are famous trademarks within the
15
     meaning of 15 U.S.C. § 1125(c).
16
            154.    Defendants’ acts as alleged herein have diluted and will, unless enjoined, continue
17
     to dilute and are likely to dilute the distinctive quality of Amazon’s famous Amazon Marks.
18
            155.    Defendants’ acts as alleged herein, have tarnished and will, unless enjoined,
19
     continue to tarnish, and are likely to tarnish Amazon’s Marks by undermining and damaging the
20
     valuable goodwill associated with the Amazon Marks.
21
            156.    Upon information and belief, Defendants’ acts as alleged herein are intentional and
22
     willful in violation of Section 43(c)(1) of the Lanham Act, 15 U.S.C. § 1125(c)(1), and have
23
     already caused Plaintiffs irreparable damage, and will, unless enjoined, continue to so damage
24
     Plaintiffs, which have no adequate remedy at law.
25

26

     AMENDED COMPLAINT - 41                                                SUMMIT LAW GROUP PLLC
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 1          157.       Plaintiffs are entitled to, among other relief, injunctive relief and an award of actual

 2   damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees, and costs

 3   of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

 4   prejudgment and post-judgment interest.

 5                                       Count V: Tortious Interference
 6          158.       Plaintiffs incorporate by reference the allegations of each and every one of the
 7   preceding paragraphs as though fully set forth herein.
 8          159.       Amazon Services, LLC has a contractual relationship with each of its Sellers, who
 9   are required to agree to the terms and conditions outlined in the BSA and the policies and
10   guidelines incorporated by reference therein.
11          160.       Defendants know that each Seller must agree to the BSA as a condition of selling
12   on Amazon.
13          161.       Defendants know that Sellers are contractually prohibited from maintaining more
14   than one Amazon store without express authorization from Amazon. Despite this knowledge,
15   Defendants provide instruction to their students on how to open more than one Amazon store in a
16   way intended to avoid detection by Amazon, in violation of the BSA and Amazon’s published
17   policies. Defendants also offer to provide students who purchase the “Diamond” level continuing
18   education package with a laptop for the express purpose of breaching their contracts with Amazon
19   by establishing a second store that Amazon would have difficulty linking to the student’s original
20   seller account.
21          162.       Defendants know that Amazon Sellers are contractually prohibited by the BSA
22   from manipulating reviews of their products. Despite this knowledge, Defendants instruct their
23   student Sellers to obtain fraudulent product reviews from friends, family, other FBA-Stores
24   students, or from companies in the business of selling fake reviews.
25          163.       Defendants also know that Sellers are contractually prohibited from selling
26   counterfeit goods on the Amazon marketplace and otherwise providing misleading and inaccurate

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 1   product listings. Despite this knowledge, and for the purpose of encouraging Sellers to violate

 2   their contracts with Amazon, Defendants supply mislabeled and/or inauthentic goods to the FBA-

 3   Stores student Sellers and then represent those goods as genuine articles when listing those

 4   products on behalf of those Sellers through Amazon’s Seller Central interface. Defendants also

 5   misrepresent the condition, quality, and/or description of certain genuine articles when listing

 6   those products on behalf of the FBA-Stores student Sellers, in violation of the BSA.

 7          164.    Through their conduct, Defendants intended to disrupt and, with malice and

 8   through unfair means, did interfere with the performance of Amazon Services LLC’s contracts

 9   with the FBA-Stores student Sellers. Defendants induced some student Sellers to engage in

10   behavior Defendants knew violated the terms of the BSA and incorporated policies. In addition,

11   Defendants – acting on behalf of certain student Sellers and using their access to the students’

12   Seller accounts – themselves took direct action that resulted in a breach of student Seller contracts

13   by:

14              •   Setting up second seller accounts for students as part of FBA-Stores’ “Diamond-

15                  level” package on laptops provided expressly for that purpose;

16              •   Providing and/or facilitating fake positive product reviews; and

17              •   Preparing and inputting inaccurate product listings for their student Sellers using

18                  access to their students’ Amazon Seller accounts.

19          165.    Defendants Chris Bowser and Adam Bowser each have authorized, directed, and/or

20   personally participated in these acts, as outlined above.

21          166.    Defendants’ acts have damaged Plaintiffs, including Amazon’s reputation and

22   goodwill. Defendants’ acts also have caused Plaintiffs to incur internal expenses associated with

23   increased customer service complaints and seller account representative involvement.

24          167.    Defendants’ acts have caused irreparable injury to Plaintiffs and will continue to

25   cause irreparable injury absent an injunction. The injury to Plaintiffs is and continues to be

26

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 1   ongoing and irreparable. An award of monetary damages cannot fully compensate Plaintiffs for

 2   their injuries, and Plaintiffs lack an adequate remedy at law.

 3           168.   Plaintiffs are entitled to injunctive relief enjoining Defendants’ wrongful

 4   interference, as well as all other remedies including, but not limited to, compensatory damages,

 5   and an award of prejudgment and post judgment interest.

 6                                    VII. PRAYER FOR RELIEF
 7           WHEREFORE, Plaintiffs respectfully pray for the following relief:

 8           A.     That the Court enter judgment in Plaintiffs’ favor on all claims brought by

 9   Plaintiffs;

10           B.     That the Court issue an order permanently enjoining Defendants, their officers,

11   agents, representatives, servants, employees, successors and assigns, and all others in active

12   concert or participation with them, from:

13                  (i)     using the Amazon Marks or marks confusingly similar to the Amazon
                            Marks;
14

15                  (ii)    holding themselves or their companies out to be affiliated with or sponsored
                            or endorsed by Amazon;
16
                    (iii)   posting or causing anyone to post fraudulent product reviews in Amazon’s
17                          ecommerce marketplace or from otherwise manipulating or causing others
                            to manipulate product reviews;
18
                    (iv)    interfering directly or indirectly in Amazon’s contractual relationships with
19                          its Sellers; and
20
                    (v)     assisting, instructing, aiding or abetting any other person or business entity
21                          in engaging or performing any of the activities referred to in
                            subparagraphs (i) - (iv) above;
22
             C.     That the Court enter an order requiring forfeiture and/or destruction of all materials
23
     displaying the Amazon Marks without authorization;
24

25

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 1           D.     That the Court enter an order requiring disgorgement of Defendants’ profits and

 2   awarding Plaintiffs compensatory and treble damages, including prejudgment and post-judgment

 3   interest;

 4           E.     That the Court enter an order requiring Defendants to pay to Plaintiffs both the

 5   costs of this action and the reasonable attorneys’ fees incurred by Plaintiffs in prosecuting this

 6   action; and

 7           F.     That the Court grant Plaintiffs such other, further, and additional relief as the Court

 8   deems just and equitable.

 9           DATED this 26th day of December, 2017.

10                                                      SUMMIT LAW GROUP PLLC
                                                        Attorneys for Plaintiffs
11
                                                        By s/ Philip S. McCune
12                                                      By s/ Christopher T. Wion
                                                           Philip S. McCune, WSBA #21081
13                                                         Christopher T. Wion, WSBA #33207
                                                           315 Fifth Avenue S., Suite 1000
14                                                         Seattle, WA 98104
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15                                                         philm@summitlaw.com
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                                                                                      Fax: (206) 676-7001
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                                       CERTIFICATE OF SERVICE
 1
            I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
 2
     Court using the CM/ECF system which will send notification of such filing to the following:
 3
                                    Bradley S. Keller
 4                                  Keith D. Petrak
                                    Byrnes Keller Cromwell LLP
 5                                  1000 Second Avenue, 38th Floor
                                    Seattle, WA 98104
 6                                  bkeller@byrneskeller.com
                                    kpetrak@byrneskeller.com
 7
                                    Charles J. Rogers
 8                                  Conley Rose, P.C.
                                    575 N. Dairy Ashford Road, Suite 1102
 9                                  Houston, TX 77079
                                    crogers@conleyrose.com
10
                                    Darlene F. Ghavimi
11                                  Conley Rose, P.C.
                                    13413 Galleria Circle, Suite 100
12                                  Austin, TX 78738
                                    dghavimi@conleyrose.com
13

14          DATED this 26th day of December, 2017.

15                                                         s/ Marcia A. Ripley
                                                           Marcia A. Ripley
16

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     AMENDED COMPLAINT - 46                                                SUMMIT LAW GROUP PLLC
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              EXHIBIT 1
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    Seller Central Help                                                                       Close Window



  Amazon Seruices Business Solutions Agreement
    General Terms
    Welcome to Amazon Services Business Solutions, a suite of optional services for sellers
    including: Sellino on Amazon, Fulfillment bv Amazon, Amazon Clicks, @
    Services, and the Marketolace Web Service.

    THIS AMAZON SERVICES BUSINESS SOLUTIONS AGREEMENT (THE "AGREEMENT'') CONTAINS THE
    TERMS AND CONDITIONS THAT GOVERN YOUR ACCESS TO AND USE OF THE SERVICES AND IS AN
    AGREEMENT BETWEEN YOU OR THE BUSINESS YOU REPRESENT AND AMAZON. BY REGISTERING
    FOR OR USING THE SERVICES, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU
    REPRESENT) AGREE TO BE BOUND BY THE TERMS OF THIS AGREEMENT, INCLUDING THE SERVICE
    TERMS AND PROGRAM POLICIES THAT APPLY FOR EACH COUNTRY FOR WHICH YOU REGISTER OR
    ELECT TO USE A SERVICE (IN EACH CASE, THE "ELECTED COUNTRY").

    As used in this Agreement, "wer" "Lrsr" and "Amazon" means the applicable Amazon Contracting
    Party and any of its applicable Affiliates, and "you" means the applicant (if registering for or using a
    Service as an individual), or thc busincsc employing the applicant (if registering for or using a
    Service as a business) and any of its Affiliates. Capitalized terms have the meanings given to them in
    this Agreement. If there is a conflict among terms in this Agreement, the Program Policies will
    prevail over any applicable Service Terms and the General Terms, and the applicable Service Terms
    will prevail over the General Terms.
    1. Enrollment.
    To begin the enrollment process, you must complete the registration process for one or more of the
    Services. Use of the Services is limited to parties that can lawfully enter into and form contracts
    under applicable Law (for example, the Elected Country may not allow minors to use the Services).
    As part of the application, you must provide us with your (or your business') legal name, address,
    phone number and e-mail address. We may at any time cease providing any or all of the Services at
    our sole discretion and without notice.

    2. Service Fee Payments; Receipt of Sales Proceeds.
    Fee details are described in the applicable Service Terms and Program Policies. You are responsible
    for all of your expenses in connection with this Agreement. To use a Service/ you must provide us
    with valid credit card information from a credit card or credit cards acceptable by Amazon ("Your
    Credit Card") as well as valid bank account information for a bank account or bank accounts
    acceptable by Amazon (conditions for acceptance may be modified or discontinued by us at any time
    without notice) ("Your BankAccount"). You will use only a name you are authorized to use in
    connection with a Service and will update all of the information you provide to us in connection with
    the Services as necessary to ensure that it at all times remains accurate, complete, and valid, You
    authorize us (and will provide us documentation evidencing your authorization upon our request) to
    verify your information (including any updated information), to obtain credit reports about you from
    time to time, to obtain credit authorizations from the issuer of Your Credit Card, and to charge Your
    Credit Card or debit Your Bank Account for any sums payable by you to us (in reimbursement or
    otherwise). All payments to you will be remitted to Your Bank Account through a banking network or
    by other means specified by us.

    If we determine that your actions or performance may result in returns,    chargebacks,
    claims, disputes, violations of our terms or policies, or other risks to Amazon or third
    parties, then we may in our sole discretion withhold any payments to you for as long as


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    we determine any related risks to Amazon or third parties persist. For any amounts that
    we determine you owe us, we may (a) charge Your Credit Card or any other payment
    instrument you provide to us; (b) offset any amounts that are payable by you to us (in
    reimbursement or otherwise) against any payments we may make to you or amounts we
    may owe you; (c) invoice you for amounts due to us, in which case you will pay the
    invoiced amounts upon receip$ (d) reverse any credits to Your Bank Account; or (e)
    collect payment or reimbursement from you by any other lawful means. If we determine
    that your account has been used to engage in deceptive, fraudulent, or illegal activity, or
    to repeatedly violate our Program Policies, then we may in our sole discretion
    permanently withhold any payments to you. Except as provided otherwise, all amounts
    contemplated in this Agreement will be expressed and displayed in the Local Currency, and all
    payments contemplated by this Agreement will be made in the Local Currency'

    In addition, we may require that you pay other amounts to secure the performance of your
    obligations under this Agreement or to mitigate the risk of returns, chargebacks, claims, disputes,
    violations of our terms or policies, or other risks to Amazon or third parties. These amounts may be
    refundable or nonrefundable in the manner we determine, and failure to comply with terms of this
    Agreement, including any applicable Program Policies, may result in their forfeiture.

    As a security measure, we may, but are not required to, impose transaction limits on some or all
    customers and sellers relating to the value of any transaction or disbursement, the cumulative value
    of all transactions or disbursements during a period of time, or the number of transactions per day
    or other period of time. We will not be liable to you: (i) if we do not proceed with a transaction or
    disbursement that would exceed any limit established by us for a security reason, or (ii) if we permit
    a customer to withdraw from a transaction because an Amazon Site or Service is unavailable
    following the commencement of a transaction.

    3. Term and Termination.
    The term of this Agreement will start on the date of your completed registration for or use of a
    Service, whichever occurs first, and continue until terminated by us or you as provided in this
    Agreement (the "Term"). We may terminate or suspend this Agreement or any Service for any
    reason at any time by notice to you. You may terminate this Agreement or any Service for any
    reason at any time by the means then specified by Amazon. Termination or suspension of a Service
    will not terminate or suspend any other Service unless explicitly provided. Upon termination, all
    rights and obligations of the parties under this Agreement will terminate, except that Sections 2,3.
    4,5,6.7,8,9.LI, 14,15,t6, and 19will survivetermination.Anytermsthatexpresslysurvive
    according to the applicable Service Terms will also survive termination.

    4. License.
    You grant us a royalty-free, non-exclusive, worldwide, perpetual, irrevocable right and license to
    use, reproduce, peform, display, distribute, adapt, modify, re-format, create derivative works of,
    and otherwise commercially or non-commercially exploit in any manner/ any and all of Your
    Materials, and to sublicense the foregoing rights to our Affiliates and operators of Amazon Associated
    Properties; provided, however, that we will not alter any of Your Trademarks from the form provided
    by you (except to re-size trademarks to the extent necessary for presentation, so long as the
    relative proportions of such trademarks remain the same) and will comply with your removal
    requests as to specific uses of YourTrademarks (provided you are unable to do so using standard
    functionality made available to you via the applicable Amazon Site or Service); provided further,
    however, that nothing in this Agreement will prevent or impair our right to use Your Materials
    without your consent to the extent that such use is allowable without a license from you or your
    Affiliates under applicable Law (e.9., fair use under United States copyright law, referential use
    under trademark law, or valid license from a third party),

    5. Representations.
    You represent and warrant to us that: (a) if you are a business, you are duly organized, validly
    existing and in good standing under the Laws of the country in which your business is registered and
    that you are registering for the Service(s) within such country; (b) you have all requisite right,



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    power/ and authority to enter into this Agreement, perform your obligations, and grant the rights,
    licenses, and authorizations in this Agreement; (c) any information provided or made available by
    you or your Affiliates to Amazon or its Affiliates is at all times accurate and complete; (d) you and
    your financial institution(s) are not subject to sanctions or otherwise designated on any list of
    prohibited or restricted parties or owned or controlled by such a party, including but not limited to
    the lists maintained by the United Nations Security Council, the US Government (e.9., the US
    Department of Treasury's Specially Designated Nationals list and Foreign Sanctions Evaders list and
    the US Department of Commerce's Entity List), the European Union or its member states, or other
    applicable government authority; and (e) you and all of your subcontractors, agents, and suppliers
    will comply with all applicable Laws in your performance of your obligations and exercise of your
    rights under this Agreement.
    5. Indemnification.
    You release us and agree to indemnify, defend, and hold harmless us, our Affiliates, and our and
    their respective officers, directors, employees, representatives, and agents against any claim, loss,
    damage, settlement, cost, expense, or other liability (including, without limitation, attorneys' fees)
    (each, a "Claim") arising from or related to: (a) your actual or alleged breach of any obligations in
    this Agreement; (b) any of Your Sales Channels other than Amazon Sites and Amazon Associated
    Properties, Your Products (including their offer, sale, performance, and fulfillment), Your Materials,
    any actual or alleged infringement of any Intellectual Property Rights by any of the foregoing, and
    any personal injury, death, or property damage related thereto; (c) Your Personnel (including any
    act or omission of Your Personnel or any Claim brought or directed by Your Personnel); or (d) Your
    Taxes. You will use counsel reasonably satisfactory to us to defend each indemnified Claim. If at any
    time we reasonably determine that any indemnified Claim might adversely affect us, we may take
    control of the defense at our expense. You may not consent to the entry of any judgment or enter
    into any settlement of a Claim without our prior written consent, which may not be unreasonably
    withheld.

    7. Disclaimer & General Release.
          a. THE AMAZON SITES AND THE SERVICES, INCLUDING ALL CONTENT, SOFTWARE,
          FUNCTIONS, MATERIALS, AND INFORMATION MADE AVAILABLE ON OR PROVIDED IN
          CONNECTION WITH THE SERVICES, ARE PROVIDED "AS-IS.'AS A USER OF THE
          SERVICES, YOU USE THE AMAZON SITES, THE SERVICES, THE MWS SITE, AND SELLER
          CENTRAL AT YOUR OWN RISK. TO THE FULLEST EXTENT PERMISSIBLE BY LAW, WE
          AND OUR AFFILIATES DISCLAIM: (i) ANY REPRESENTATIONS OR WARRANTIES
          REGARDING THIS AGREEMENT, THE SERVICES OR THE TRANSACTIONS
          CONTEMPLATED BY THIS AGREEMENT, INCLUDING ANY IMPLIED WARRANTIES OF
          MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, OR NON-INFRINGEMENT;
          (ii) IMPLIED WARRANTIES ARISING OUT OF COURSE OF DEALING, COURSE OF
          PERFORMANCE, OR USAGE OF TRADE; AND (iii) ANY OBLIGATION, LIABILITY, RIGHT,
          CLAIM, OR REMEDY IN TORT, WHETHER OR NOT ARISING FROM OUR NEGLIGENCE.
          WE DO NOT WARRANT THAT THE FUNCTIONS CONTAINED IN THE AMAZON SITES AND
          THE SERVICES WILL MEET YOUR REQUIREMENTS OR BE AVAILABLE, TIMELY, SECURE,
          UNINTERRUPTED, OR ERROR FREE, AND WE WILL NOT BE LIABLE FOR ANY SERVICE
          INTERRUPTIONS, INCLUDING BUT NOT LIMITED TO SYSTEM FAILURES OR OTHER
          INTERRUPTIONS THAT MAY AFFECT THE RECEIPT, PROCESSING, ACCEPTANCE,
          COMPLETION, OR SETTLEMENT OF ANY TRANSACTIONS,

          b. BECAUSE AMAZON IS NOT INVOLVED IN TRANSACTIONS BETWEEN CUSTOMERS
          AND SELLERS OR OTHER PARTICIPANT DEALINGS, IF A DISPUTE ARISES BETWEEN
          ONE OR MORE PARTICIPANTS, EACH PARTICIPANT RELEASES AMAZON (AND ITS
          AGENTS AND EMPLOYEES) FROM CLAIMS, DEMANDS, AND DAMAGES (ACTUAL AND
          CONSEQUENTIAL) OF EVERY KIND AND NATURE, KNOWN AND UNKNOWN, SUSPECTED
          AND UNSUSPECTED, DISCLOSED AND UNDISCLOSED, ARISING OUT OF OR IN ANY
          WAY CONNECTED WITH SUCH DISPUTES.

    8. Limitation of Liability,



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    WE WILL NOT BE LIABLE (WHETHER IN CONTRACT, WARRANTY, TORT (INCLUDING NEGLIGENCE,
    PRODUCT LIABILITY, OR OTHER THEORY), OR OTHERWISE) TO YOU OR ANY OTHER PERSON FOR
    COST OF COVER, RECOVERY, OR RECOUPMENT OF ANY INVESTMENT MADE BY YOU OR YOUR
    AFFILIATES IN CONNECTION WITH THIS AGREEMENT, OR FOR ANY LOSS OF PROFIT, REVENUE,
    BUSINESS, OR DATA OR PUNITIVE OR CONSEQUENTIAL DAMAGES ARISING OUT OF OR RELATING
    TO THIS AGREEMENT, EVEN IF AMAZON HAS BEEN ADVISED OF THE POSSIBILITY OF THOSE COSTS
    OR DAMAGES, FURTHER, OUR AGGREGATE LIABILIry ARISING OUT OF OR IN CONNECTION WITH
    THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED WILL NOT EXCEED AT ANY TIME THE
    TOTAL AMOUNTS DURING THE PRIOR SIX MONTH PERIOD PAID BY YOU TO AMAZON IN
    CONNECTION WITH THE PARTICULAR SERVICE GIVING RISE TO THE CLAIM.

    9. Insurance.
    If the gross proceeds from Your Transactions exceed the applicable Insurance Threshold during     each
    month over any period of three (3) consecutive months, or otherwise if requested by us, then within
    thirty (30) days thereafter, you will maintain at your expense throughout the remainder of the Term
    for each applicable Elected Country commercial general, umbrella or excess liability insurance with
    the Insurance Limits per occurrence and in aggregate covering liabilities caused by or occurring in
    conjunction with the operation of your business, including products, products/completed operations
    and bodily injury, with policy(ies) naming Amazon and its assignees as additional insureds. At our
    request, you will provide to us certificates of insurance for the coverage to the following address: c/o
    Amazon, P.O. Box 8t226, Seattle, WA 98108-1226, Attention: Risk Management.

    1O. Tax Matters.

    As between the parties, you will be responsible for the collection, reporting, and payment of any and
    all of Your Taxes, except to the extent Amazon expressly agrees to receive taxes or other
    transaction-based charges in connection with tax calculation services made available by Amazon and
    used by you. You agree to and will comply with the Tax Policies. All fees payable by you to Amazon
    under this Agreement or the applicable Service Terms are exclusive of any applicable taxes, and you
    will be responsible for paying Amazon any of YourTaxes imposed on such fees.
    11. Confidentiality.
    During the course of your use of the Services/ you may receive information relating to us or to the
    Services, including but not limited to Amazon Transaction Information, that is not known to the
    general public ("Confidential Information"). You agree that: (a) all Confidential Information will
    remain Amazon's exclusive property; (b) you will use Confidential Information only as is reasonably
    necessary for your participation in the Services; (c) you will not otherwise disclose Confidential
    Information to any other Person; and (d) you will take all reasonable measures to protectthe
    Confidential Information against any use or disclosure that is not expressly permitted in this
    Agreement. You may not issue any press release or make any public statement related to the
    Services, or use our name, trademarks, or logo, in any way (including in promotional material)
    without our advance written permission, or misrepresent or embellish the relationship between us in
    any way.

    12. Force Majeure.
    We will not be liable for any delay or failure to peform any of our obligations under this Agreement
    by reasons, events or other matters beyond our reasonable control.

    13. Relationship of Parties'
    Subject to the Transaction Processing Service Terms (if the Elected Country for a Service is the
    United States), you and we are independent contractors, and nothing in this Agreement will create
    any partnership, joint venture, agency/ franchise, sales representative, or employment relationship
    between us. You will have no authority to make or accept any offers or representations on our
    behalf. This Agreement will not create an exclusive relationship between you and us. Nothing
    expressed or mentioned in or implied from this Agreement is intended or will be construed to give to
    any person other than the parties to this Agreement any legal or equitable right, remedy, or claim
    under or in respect to this Agreement. This Agreement and all of the representations, warranties,


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       covenants, conditions, and provisions in this Agreement are intended to be and are for the sole and
       exclusive benefit of Amazon, you, and customers. As between you and us/ you will be solely
       responsible for all obligations associated with the use of any third party service or feature that you
       permit us to use on your behalf, including compliance with any applicable terms of use. You will not
       make any statement, whether on your site or otherwise, that would contradict anything in this
       section.

       14, Use of Amazon Transaction Information.
       You will not, and will cause your Affiliates not to, directly or indirectly: (a) disclose any Amazon
       Transaction Information (except that you may disclose that information solely as necessary for you
       to perform your obligations under this Agreement if you ensure that every recipient uses the
       information only for that purpose and complies with the restrictions applicable to you related to that
       information); (b) use any Amazon Transaction Information for any marketing or promotional
       purposes whatsoever, or otherwise in any way inconsistent with our or your privacy policies or
       applicable Law; (c) contact a Person that has ordered Your Product with the intent to collect any
       amounts in connection therewith or to influence that Person to make an alternative transaction; (d)
       disparage us/ our Affiliates, or any of their or our respective products or services or any customer; or
       (e) target communications of any kind on the basis of the intended recipient being an Amazon Site
       user. In addition, you may only use tools and methods that we designate to communicate with
       Amazon Site users regarding Your Transactions, including for the purpose of scheduling,
       communicating, or cancelling the fulfillment of Your Products, The terms of this Section 14 do not
       prevent you from using other information that you acquire without reference to Amazon Transaction
       Information for any purpose, even if that information is identical to Amazon Transaction Information,
       provided that you do not target communications on the basis of the intended recipient being an
       Amazon Site user.

       15. Suggestions and Other Information.
       If you or any of your Affiliates elect to provide or make available suggestions, comments, ideas,
       improvements, or other feedback or materials to us in connection with or related to any Amazon Site
       or Service (including any related Technology), we will be free to use, disclose, reproduce, modify,
       license, transfer and otherwise distribute, and exploit any of the foregoing information or materials
       in any manner. In order to cooperate with governmental requests, to protect our systems and
       customers, or to ensure the integrity and operation of our business and systems, we may access and
       disclose any information we consider necessary or appropriate, including but not limited to user
   ,   contact details, IP addresses and traffic information, usage history, and posted content. If we make
       suggestions on using the Services, you are responsible for any actions you take based on our
       suggestions.

       16. Modification.
       We may amend any of the terms and conditions contained in this Agreement at any time and at our
       sole discretion, Any changes will be effective upon the posting of such changes on Seller Central, on
       the MWS Site, or on the applicable Amazon Site, and you are responsible for reviewing these
       locations and informing yourself of all applicable changes or notices. All notice of changes to the
       General Terms and the Service Terms will be posted for at least 30 days. Changes to Program
       Policies may be made without notice to you, You should refer regularly to Seller Central and the
       MWS Site, as applicable, to review the current Agreement (including the Service Terms and Program
       Policies) and to be sure that the items you offer can be offered via the applicable Service. YOUR
       CONTINUED USE OF A SERVICE AFTER AMAZON'S POSTING OF ANY CHANGES WILL CONSTITUTE
       YOUR ACCEPTANCE OF SUCH CHANGES OR MODIFICATIONS.

       17. Password Security.
       Any password we provide to you may be used only during the Term to access Seller Central (or other
       tools we provide, including the MWS Site, as applicable) to use the Services, electronically accept
       Your Transactions, and review your completed transactions. You are solely responsible for
       maintaining the security of your password, You may not disclose your password to any third party
       (other than third parties authorized by you to use your account in accordance with this Agreement)



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    and are solely responsible for any use of or action taken under your password. If your password is
    compromised, you must immediately change your password.

    18. Export.
    You will not directly or indirectly export, re-export, transmit, or cause to be exported, re-exported or
    transmitted, any commodities, software or technology to any country, individual, corporation,
    organization, or entity to which such export, re-export, or transmission is restricted or prohibited,
    including any country, individual, corporation, organization, or entity under sanctions or embargoes
    administered by the United Nations, US Departments of State, Treasury or Commerce, the European
    Union, or any other applicable government authority.

    19. Miscellaneous,
    The Governing Laws will govern this Agreement, without reference to rules governing choice of laws
    or the Convention on Contracts for the International Sale of Goods. If the Elected Country is Japan,
    Amazon and you both consent that any dispute with Amazon or its Affiliates or claim relating in any
    way to your use of the Services or this Agreement as it relates to your use of the Services in Japan
    will be adjudicated in the Governing Courts, and you consent to exclusive jurisdiction and venue in
    the Governing Courts. If the Elected Country is the United States, Canada, or Mexico, Amazon and
    you both consent that any dispute with Amazon or its Affiliates or claim relating in any
    way to this Agreement or your use of the Services will be resolved by binding arbitration
    as described in this paragraph, rather than in court, except that (i) you may assert claims in a
    small claims court that is a Governing Court if your claims qualify and (ii) you or we may bring suit
    in the Governing Courts, submitting to the jurisdiction of the Governing Courts and waiving our
    respective rights to any other jurisdiction, to enjoin infringement or other misuse of intellectual
    property rights. There is no judge or jury in arbitration, and court revieW of an arbitration
    award is limited. However, an arbitrator can award on an individual basis the same
    damages and relief as a court (including injunctive and declaratory relief or statutory
    damages), and must follow the terms of this Agreement as a court would. To begin an
    arbitration proceeding, you must send a letter requesting arbitration and describing your claim to our
    registered agent, CSC Services of Nevada, Inc., 22t5-B Renaissance Drive, Las Vegas, NV 89119.
    The arbitration will be conducted by the American Arbitration Association (AAA) under its rules,
    including the AAA's Supplementary Procedures for Consumer-Related Disputes. Payment of all filing,
    administration and arbitrator fees will be governed by the AAA's rules. We will reimburse those fees
    for claims totaling less than $10,000 unless the arbitrator determines the claims are frivolous.
    Likewise, Amazon will not seek attorneys' fees and costs from you in arbitration unless the arbitrator
    determines the claims are frivolous. You may choose to have the arbitration conducted by telephone,
    based on written submissions, or in person at a mutually agreed location. Amazon and you each
    agree that any dispute resolution proceedings will be conducted only on an individual
    basis and not in a class, consqlidated or representative action. If for any reason a claim
    proceeds in court rather than in arbitration Amazon and you each waive any right to a jury
    trial.
    You may not assign this Agreement, by operation of law or otherwise, without our prior written
    consent. Subject to that restriction, this Agreement will be binding on, inure to, and be enforceable
    against the parties and their respective successors and assigns. We may perform any of our
    obligations or exercise any of our rights under this Agreement through one or more of our Affiliates.
    Our failure to enforce your strict performance of any provision of this Agreement will not constitute a
    waiver of our right to enforce such provision or any other provision of this Agreement subsequently.

    We have the right in our sole discretion to determine the content, appearance, design, functionality,
    and all other aspects of the Services, including by redesigning, modifying, removing, or restricting
    access to any of them.

    Because Amazon is not your agent (except for the limited purpose set out in the Transaction
    Processing Service Terms (if the Elected Country for a Service is the United States)), or the
    customer's agent for any purpose, Amazon will not act as either party's agent in connection with
    resolving any disputes between participants related to or arising out of any transaction.




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    We will send all notices and other communications regarding this Agreement to you at the e-mail
    addresses you designated for notifications and updates in your program application or within Seller
    Central or the MWS Site, as applicable, or by any other means then specified by Amazon. We may
    also communicate with you electronically and in other media, and you consent to such
    communications regardless of any "E-mail Preferences" (or similar preferences or requests) you may
    have indicated on the applicable Amazon Site, on Seller Central, on the MWS Site, or by any other
    means. You may change your e-mail addresses and certain other information in Seller Central and
    the MWS Site, as applicable. You will ensure that all of your information is up to date and accurate at
    all times. You must send all notices and other communications relating to Amazon to our Merchant
    Services Team by using the Contact Us form.

    This Agreement incorporates and you accept the applicable Service Terms and Program Policies,
    which Amazon may modify from time to time. If any provision of this Agreement is deemed unlawful,
    void, or for any reason unenforceable, then that provision will be deemed severable from these
    terms and conditions and will not affect the validity and enforceability of any remaining provisions. If
    the Elected Country is Canada, then it is the express wish of the parties that this Agreement and the
    applicable Service Terms and Program Policies have been drafted in English. (The following is a
    French translation of the preceding sentence: Si le pays de service est le Canada, les parties
    conviennent que la pr6sente autorisation et tous les termes et conditions applicables s'y rattachant
    soient r6diges en anglais.) If the Elected Country is any country other than Japan, we may make
    available translations to this Agreement and the applicable Service Terms and Program Policies, but
    the English version will control. This Agreement represents the entire agreement between the parties
    with respect to the Services and related subject matter and supersedes any previous or
    contemporaneous oral or written agreements and understandings'

    Definitions
    As used in this Agreement, the following terms have the following meanings:

    "Affiliate" means/ with respect to any entity, any other entity that directly or indirectly controls, is
    controlled by, or is under common control with that entity.

    "Amazon Associated Properties" means any website or other online point of presence, mobile
    application, service or feature, other than an Amazon Site, through which any Amazon Site, or
    products or services available on any of them, are syndicated, offered, merchandised, advertised, or
    described.

    "Amazon Contracting Party" means the party outlined below.
         .   If the Elected Country is Canada:

                            Service                     Amazon Contracting Party
              Selling on Amazon                      Amazon Services International, Inc.

              Selling on Amazon (if your account
              is enabled to list Optional Coverage   Amazon Services Contracts, Inc
              Plans)

              Fulfillment by Amazon                  Amazon.com.ca, Inc
              Amazon Clicks                          Amazon Services International, Inc.

         .   If the Elected Country   is Japan:

                            Service                     Amazon Contracting Party
              Selling on Amazon                      Amazon Japan G.K

              Fulfillment by Amazon                  Amazon Japan G.K




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              Amazon Clicks                          Amazon Japan G.K

        .    If the Elected Country is Mexico

                            Service                        Amazon Contracting Party
                                                     Servicios Comerciales Amazon
              Selling on Amazon                      M6xico S. de R.L. de C.V.

                                                     Servicios Comerciales Amazon
              Fulfillment by Amazon                  M6xico S. de R.L. de C.V.

                                                     Servicios Comerciales Amazon
              Amazon Clicks                          M6xico S. de R.L. de C.V.


        .    If the Elected Country is the United States

                            Service                        Amazon Contracting Party
              Selling on Amazon                      Amazon Services LLC

              Selling on Amazon (if your account
              is enabled to list Optional Coverage   Amazon Services Contracts, Inc.
              Plans)

              Fulfillment by Amazon                  Amazon Services LLC

              Amazon Clicks                          Amazon Services LLC

              Transaction Processing Services        Amazon Payments, Inc.

        .    If you register for or use the Marketplace Web Service, the Amazon Contracting Party is the
             Contracting Party that provides the applicable Service you use in connection with the
             Marketplace Web Service.

    "Amazon Site" means, as applicable, the CA Amazon Site, the lP Amazon Site, the MX Amazon
    Site, or the US Amazon Site.

    "Amazon Transaction Information" means, collectively, Order Information and any other data or
    information acquired by you or your Affiliates from Amazon, its Affiliates/ or otherwise as a result of
    this Agreement, the transactions contemplated by this Agreement, or the parties' performance under
    this Agreement.
    "CA Amazon Site" means the website, the primary home page of which is identified by the url
    www.amazon.ca, and any successor or replacement of such website'

    "Content" means copyrightable works under applicable Law and content protected by database
    rights under applicable Law.
    "Excluded Products" means the items described on the applicable Restricted Products paqes in
    Seller Central, any other applicable Program Policy, or any other information made available to you
    by Amazon.

    "Governing Courts" means the applicable one of the following:
         .   the state or Federal court in King County, Washington (if the Elected Country is Canada,
             Mexico, or the United States),
         .   Tokyo District Court or Tokyo Summary Court depending upon the amount of the claim made
             (if the Elected Country is JaPan).

    "Governing Laurs" means the applicable one of the following:


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        .   the laws of the State of Washington, United States together with the Federal Arbitration Act
            and other applicable federal law (if the Elected Country is Canada, Mexico, or the United
            States),
        .   the laws of Japan (if the Elected Country is Japan).
    "Insurance Limits" means the applicable one of the following
        .   One Million Canadian Dollars ($1,000,000) (if the Elected Country is Canada),
        .   One Hundred Million Japanese Yen (Y100,000,000) (if the Elected Country is Japan),
        r   Ten Million Mexican Pesos ($10,000,000) (if the Elected Country is Mexico),
        .   One Million U.S. Dollars ($1,000,000) (if the Elected Country is the United States).

    "Insurance Threshold" means the applicable one of the following:
        .   Ten Thousand Canadian Dollars ($10,000) (if the Elected Country is Canada),
        .   One Million Japanese Yen (Y1,000,000) (if the Elected Country is Japan),
        .   One Hundred Thousand Mexican Pesos ($100,000) (if the Elected Country is Mexico),
        .   Ten Thousand U.S. Dollars ($10,000) (if the Elected Country is the United States).

    "Intellectual Property Right"      means any patent, copyright, Trademark, domain name, moral
    right, trade secret right, or any other intellectual property right arising under any Laws and all
    ancillary and related rights, including all rights of registration and renewal and causes of action for
    violation, misappropriation or infringement of any of the foregoing.
    "JP Amazon Site" means that website, the primary home page of which is identified by the url
    www.amazon.co.jp, and any successor or replacement of such website.

    "Law"    means any law, ordinance, rule, regulation, order, license, permit, judgment, decision, or
    other requirement, now or in the future in effect, of any governmental authority (e.9., on a federal,
    state, or provincial level, as applicable) of competent jurisdiction.
    "Local Currency" means the applicable one of the following:
        .   U.S. Dollars (if the Elected Country is the United States),
        .   Canadian Dollars (if the Elected Country is Canada),
        .   Mexican Pesos (if the Elected Country is Mexico),
        .   Japanese Yen (if the Elected Country is Japan).

    "MX Amazon Site" means the website, the primary home page of which is identified by the url
    www.amazon.com.mx/ and any successor or replacement of such website.

    'MWS Site" means that website (and any successor or replacement of such website), the primary
    homepage of which is currently located at http://developer.amazonservices.com/.

    "Optional Coverage Plans" means warranties, extended service plans and related offerings, in
    each case as determined by us, that you offer.

    "Order Information" means, with respect to any of Your Products ordered through an Amazon
    Site, the order information and shipping information that we provide or make available to you.

    "Person" means any individual, corporation, partnership, limited liability company/ governmental
    authority, association, joint venture, division, or other cognizable entity, whether or not having
    distinct legal existence.

    "Program Policies" means all terms, conditions, policies, guidelines, rules, and other information
    on the applicable Amazon Site, on Seller Central, or on the MWS Site, including those shown on the
    "Policies and Agreements" section of Seller Central or elsewhere in the "Help" section of Seller
    Central (and, for purposes of the Fulfillment by Amazon Service, specifically including the FBA
    Guidelines).

    "Sales Proceeds" means the gross proceeds from any of YourTransactions, including all shipping
    and handling, gift wrap and other charges, and including taxes and customs duties to the extent
    specified in the applicable Tax Policies.



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    "seller Central"   means the online portal and tools made available by Amazon to you, for your use
    in managing   your orders, inventory, and presence on a particular Amazon Site or any other online
    point of presence.

    "Service" means each of the following services: Selling on Amazon, Fulfillment by Amazon, Amazon
    Clicks (including Amazon Sponsored Products), the Marketplace Web Service, and, if the Elected
    Country for a Service is the United States, the Transaction Processing Services, together in each
    case with any related services and materials we make available.

    "service Terms" means the service terms applicable to each Service, which are made part of this
    Agreement upon the date you elect to register for or use the applicable Service, and any subsequent
    modifications we make to those terms.

    "Technology" means any: (a) ideas, procedures, processes, systems, methods of operation,
    concepts, principles, and discoveries protected or protectable under the Laws of any jurisdiction; (b)
    interfaces, protocols, glossaries, libraries, structured XML formats, specifications, grammars, data
    formats, or other similar materials; and (c) software, hardware, code, technology, or other functional
    item.

    "Trademark" means any trademark, service mark, trade dress (including any proprietary "look            and
    feel"), trade name, other proprietary logo or insignia, or any other source or business identifier,
    protected or protectable under any Laws.

    "US Amazon Site" means that website, the primary home page of which is identified by the url
    www.amazon.com, and any successor or replacement of such website'

    "Your Materials" means all Technology, Your Trademarks, Content, Your Product information, data,
    materials, and other items or information provided or made available by you or your Affiliates to
    Amazon or its Affiliates.

    "Your Personnel" means any third party warranting, administering or otherwise involved in the
    offer, sale, performance, or fulfillment of Your Products, including any of your employees,
    representatives, agents, contractors, or su bcontractors.

    "Your Product" means any product or service (including Optional Coverage Plans) that you: (a)
    have offered through the Selling on Amazon Service; (b) have made available for advertising
    through the Amazon Clicks Service; or (c) have fulfilled or otherwise processed through the
    Fulfillment by Amazon Service.

    "Your Sales Channels" means all sales channels and other means through which you or any of
    your Affiliates offers products or services, other than physical stores'

    "Your Taxes" means any and all sales, goods and services/ use/ excise, premium, import, export,
    value added, consumption, and other taxes, regulatory fees, levies (specifically including
    environmental levies), or charges and duties assessed, incurred, or required to be collected or paid
    for any reason (a) in connection with any advertisement, offer or sale of products or services by you
    on or through or in connection with the Services; (b) in connection with any products or services
    provided for which Your Products are, directly or indirectly, involved as a form of payment or
    exchange; or (c) otherwise in connection with any action, inaction, or omission of you or your
    Affiliates, or any Persons providing products or services, or your or their respective employees,
    agents, contractors, or representatives, for which Your Products are, directly or indirectly, involved
    as a form of payment or exchange. Also, if the Elected Country is the United States, Mexico, or
    Canada, as it is used in the Fulfillment by Amazon Service Terms, this defined term also means any
    of the types of taxes, duties, levies, or fees mentioned above that are imposed on or collectible by
    Amazon or any of its Affiliates in connection with or as a result of fulfillment services including the
    storage of inventory or packaging of Your Products and other materials owned by you and stored by
    Amazon, shipping, gift wrapping, or other actions by Amazon in relation to Your Products pursuant to
    the Fulfillment by Amazon Service Terms.




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    "Your Trademarks" means Trademarks of yours that you provide to us: (a) in non-text form for
    branding purposes; and (b) separate from (and not embedded or otherwise incorporated in) any
    product specific information or materials.

    "Your TransaCtion" means any sale of Your Product(s) through an Amazon Site.
    Selling on Amazon Service Terms
    The Selling on Amazon Service ("Selling on Amazon") is a Service that allows you to offer certain
    products and services directly on the Amazon Sites.

    These Selling on Amazon Service Terms are part of the Agreement, but, unless specifically provided
    otherwise, concern and apply only to your participation in Selling on Amazon. BY REGISTERING FOR
    OR USING THE SELLING ON AMAZON SERVICE, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS
    YOU REPRESENT) AGREE TO BE BOUND BY THE AGREEMENT, INCLUDING THESE SELLING ON
    AMAZON SERVICE TERMS. NOTWITHSTANDING THE PREVIOUS SENTENCE, IF YOU HAVE
    ENTERED INTO A SEPARATE AGREEMENT THAT PERMITS YOU TO OFFER YOUR PRODUCTS
    THROUGH A PARTICULAR AMAZON SITE (E.G., A MERCHANTS@ AMAZON.COM PROGRAM
    AGREEMENT, MERCHANTS @AMAZON.CO.JP PROGRAM AGREEMENT OR ANY PREDECESSOR
    oF THOSE AGREEMENTS), THEN TO THE EXTENT THAT YOU CONTINUE TO LrST AND SELL
    YOUR PRODUCTS ON THAT AMAZON SITE PURSUANT TO SUCH SEPARATE AGREEMENT,
    TRANSACTIONS OF YOUR PRODUCTS ON THAT AMAZON SITE AND ANY TAX SERVICES WE
    MAKE AVAILABLE UNDER THAT AGREEMENT ARE GOVERNED BY THE TERMS OF THAT
    AGREEMENT AND NOT BY THESE SELLING ON AMAZON SERVICE TERMS.

    S-1 Your Product Listings and Orders.
    S-1.1 Products and Product Information. You will provide in the format we require accurate and
    complete Required Product Information for each product or service that you offer through any
    Amazon Site and promptly update that information as necessary to ensure it at all times remains
    accurate and complete. You will also ensure that Your Materials, Your Products (including packaging)
    and your offer and subsequent sale of any of the same on any Amazon Site comply with all
    applicable Laws (including all minimum age, marking and labeling requirements) and do not contain
    any sexually explicit (except to the extent expressly permitted under our applicable Program
    Policies), defamatory or obscene materials. You may not provide any information for, or otherwise
    seek to offer any Excluded Products on any Amazon Sites; or provide any URL Marks for use, or
    request that any URL Marks be used, on any Amazon Site'

    S-1.2 Product Listing; Merchandising; Order Processing. We will enable you to list Your
    Products on a particular Amazon Site, and conduct merchandising and promote Your Products as
    permitted by us (including via the Amazon Associated Properties or any other functions, features,
    advertising, or programs on or in connection with the applicable Amazon Site). We may use
    mechanisms that rate, or allow shoppers to rate, Your Products and your performance as a seller and
    Amazon may make these ratings and feedback publicly available. We will provide Order Information
    to you for each order of Your Products through the applicable Amazon Site. We will also receive all
    Sales Proceeds on your behalf for each of these transactions and will have exclusive rights to do so,
    and will remit them to you in accordance with these Selling on Amazon Service Terms.

    S-1.3 Shipping and Handling Charges. For Your Products ordered by customers on or through an
    Amazon Site that are not fulfilled using Fulfillment by Amazon, you will determine the shipping and
    handling charges subject to our Program Policies and standard functionality (including any category-
    based shipping and handling charges we determine, such as for products offered by sellers on the
    Individual selling plan and BMVD Products generally). When we determine the shipping and handling
    charges, you will accept them as payment in full for your shipping and handling. Please refer to the
    Fulfillment by Amazon Service Terms for Your Products that are fulfilled using Fulfillment by Amazon.

    S-1.4 Credit Card Fraud. We will bear the risk of credit card fraud (i,e., a fraudulent purchase
    arising from the theft and unauthorized use of a third party's credit card information) occurring in
    connection with Your Transactions except in connection with Seller-Fulfilled Products that are not
    fulfilled strictly in accordance with the Order Information and Shipment Information.'You will bear all



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    other risk of fraud or loss. We may in our sole discretion withhold for investigation, refuse to
    process, restrict shipping destinations for, stop, and/or cancel any of Your Transactions. You will stop
    or cancel orders of Your Products if we ask you to do so. If you have already transferred Your
    Products to a carrier or shipper when we ask you to stop or cancel an order, you will use
    commercially reasonable efforts to stop or cancel delivery of that order. You will refund any
    customer (in accordance with Section S-2.2) that has been charged for an order that we stop or
    cancel,

    S-2 Sale and Fulfillment; Refunds and Returns'
    S-2.1 Sale and Fulfillment. Other than as described in the Fulfillment by Amazon Service Terms
    for each Amazon Site for which you register or use the Selling on Amazon Service, you will: (a)
    source, offer, sell and fulfill your Seller-Fulfilled Products, and source and, offer and sell your
    Amazon-Fulfilled Products, in each case in accordance with the terms of the applicable Order
    Information, this Agreement, and all terms provided by you or us and displayed on the applicable
    Amazon Site at the time of the order and be solely responsible for and bear all risk for those
    activities; (b) package each of Your Products in a commercially reasonable manner complying with
    all applicable packaging and labeling requirements and ship each of Your Products on or before its
    Expected Ship Date; (c) retrieve Order Information at least once each business day; (d) only cancel
    Your Transactions as permitted pursuant to your terms and conditions appearing on the applicable
    Amazon Site at the time of the applicable order or as may be required under this Agreement; (e)
    fulfill Your Products throughout the Elected Country (except to the extent prohibited by Law or this
    Agreement); (f) provide to Amazon information regarding fulfillment and order status and tracking
    (to the extent available), in each case as requested by us using the processes designated by us, and
    we may make any of this information publicly available; (g) comply with all Street Date instructions;
    (h) ensure that you are the seller of each of Your Products; (i) include an order-specific packing slip,
    and, if applicable, any tax invoices, within each shipment of Your Products; (j) identify yourself as
    the seller of each of Your Products on all packing slips or other information included or provided in
    connection with Your Products and as the Person to which a customer may return the applicable
    product; and (k) except as expressly permitted by this Agreement, not send customers emails
    confirming orders or fulfillment of Your Products. If any of Your Products are fulfilled using Fulfillment
    by Amazon, the Fulfillment by Amazon Service Terms for the applicable Amazon Site will apply to the
    storage, fulfillment, and delivery of such Amazon-Fulfilled Products.

    5'2.2 Cancellations, Returns, and Refunds. The Amazon Refund Policies for the applicable
    Amazon Site will apply to Your Products. Subject to Section F-6, for any of Your Products fulfilled
    using Fulfillment by Amazon, you will promptly accept, calculate, and process cancellations, returns,
    refunds, and adjustments in accordance with this Agreement and the Amazon Refund Policies for the
    applicable Amazon Site, using functionality we enable for your account. Without limiting your
    obligations, we may in our sole discretion accept, calculate, and process cancellations, returns,
    refunds, and adjustments for the benefit of customers. You will route any payments to customers in
    connection with Your Transactions through Amazon. We will make any payments to customers in the
    manner we determine, and you will reimburse us for all amounts we pay'

    S-3 Problems with Your Products'
    S-3.1 Delivery Errors and Nonconformities; Recalls. You are solely responsible for any non-
    performance, non-delivery, misdelivery, theft, or other mistake or act in connection with the
    fulfillment of Your Products, except to the extent caused by: (a) credit card fraud for which we are
    responsible under Section S-1.4; or (b) our failure to make available to you Order Information as it
    was received by us or resulting from address verification. Notwithstanding the previous sentence, for
    those of Your Products that are fulfilled using Fulfillment by Amazon, if any, the Fulfillment by
    Amazon Service Terms for the applicable Amazon Site will apply to non-delivery, misdelivery, theft,
    or other mistake or act in connection with the fulfillment of those of Your Products, You are also
    responsible for any non-conformity or defect in, any public or private recall of, or safety alert of any
    of Your Products or other products provided in connection with Your Products. You will notify us
    promptly as soon as you have knowledge of any public or private recalls, or safety alerts of Your
    Products or other products provided in connection with Your Products.




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    S-3.2 A-to-z Guarantee and Chargebacks. If we inform you that we have received or initiated a
    claim under the "A-to-z Guarantee" offered on a particular Amazon Site, or any chargeback or other
    dispute, concerning one of Your Transactions, you will deliver to us in a format and manner we
    specify: (a) proof of fulfillment of Your Product(s) (as applicable); (b) the applicable Amazon order
    identification number; (c) a description of Your Product(s) (as applicable); and (d) any terms
    provided by you or us and displayed on the Amazon Site at the time of the transaction in question, If
    you fail to comply with the prior sentence, or if the claim, chargeback, or dispute is not caused by:
    (i) credit card fraud for which we are responsible under Section S-t.4; or (ii) our failure to make
    your Order Information available as the same was received by us or resulting from address
    verification, then you will promptly reimburse us in accordance with the Service Fee Pavments
    section of this Aoreement for the amount of the customer purchase (including the Purchase Price, all
    associated shipping and handling charges and all taxes, but excluding any associated Referral Fees
    retained and not subject to refund by Amazon) and all associated credit card association, bank, or
    other payment processing, re-presentment and/or penalty fees associated with the original purchase
    and any chargeback or refund, in each case to the extent paid or payable by us or our Affiliates. If
    the Elected Country is Japan and we receive or initiate a claim underthe "A-to-z Guarantee"
    concerning one of Your Transactions and we determine that we are responsible for that claim then
    we will purchase the returned products from the customer'

    S-4 Parity with Your Sales Channels.
    Subject to this Section S-4, you are free to determine which of Your Products you wish to offer on a
    particular Amazon Site. You will maintain parity between the products you offer through Your Sales
    Channels and the products you list on any Amazon Site by ensuring that : (a) the Purchase Price and
    every other term of offer or sale of Your Product (including associated shipping and handling
    charges, Shipment Information, any "low price" guarantee, rebate or discount, any free or
    discounted products or other benefit available as a result of purchasing one or more other products,
    and terms of applicable cancellation, return and refund policies) is at least as favorable to Amazon
    Site users as the most favorable terms upon which a product is offered or sold via Your Sales
    Channels (excluding consideration of Excluded Offers); (b) customer service for Your Products is at
    least as responsive and available and offers at least the same level of support as the most favorable
    customer services offered in connection with any of Your Sales Channels (this requirement does not
    apply to customer service for payment-related issues on Your Transactions, which we will provide);
    and (c) the Content, product and service information, and other information under Section S-1.1
    regarding Your Products that you provide to us is of at least the same level of quality as the highest
    quality information displayed or used in Your Sales Channels. If you become aware of any non-
    compliance with (a) above, you will promptly compensate adversely affected customers by making
    appropriate refunds to them in accordance with Section S-2.2. For Amazon-Fulfilled Products, if the
    shipping and handling charges associated with the sale and fulfillment of any of Your Products
    offered on an Amazon Site are included (and not separately stated) in the item price listed for Your
    Product (collectively a "Shipping Inclusive Purchase Price"), then the parity obligation in (a)
    above will be satisfied if the Shipping Inclusive Purchase Price and each other term of offer or sale
    for the product on the Amazon Site are at least as favorable to Amazon Site users as the purchase
    price and each other term of offer or sale for the product (including any and all separately stated
    shipping and handling charges) pursuant to which the product or service is offered or sold via any of
    Your Sales Channels.

    S-5 Compensation.
    You will pay us: (a) the applicable Referral Fees; (b) any applicable Variable Closing Fee; (c) the
    non-refundable Selling on Amazon Subscription Fee in advance each month; and (d) any other
    applicable fees described in this Agreement (including any applicable Program Policies). "Selling on
    Amazon Subscription Fee" means the fee specified as such on the Selling on Amazon Fee
    Schedule for the applicable Amazon Site at the time such fee is payable. With respect to each of
    YourTransactions: (i) "Sales Proceeds" has the meaning set out in this Agreement; (ii) "Variable
    Ctosing Fee" means the applicable fee, if any, as specified on the Variable Closinq Fee Schedule for
    the applicable Amazon Site; and (iii) "Referral Fee" means the applicable fee based on the Sales
    Proceeds from Your Transaction through the applicable Amazon Site specified on the Selling on
    Amazon Fee Schedule for that Amazon Site at the time of Your Transaction, based on the



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    categorization by Amazon of the type of product that is the subject of Your Transaction; provided,
    however, that Sales Proceeds will not include any shipping charges set by us in the case of Your
    Transactions that consist solely of products fulfilled using Fulfillment by Amazon.

    5-6 Remittance of Sales Proceeds & Refunds.
    Except as otherwise stated in this Agreement, we will remit to you your available balance on a bi-
    weekly (1a day) (or at our option, more frequent) basis, which may vary for each Elected Country,
    For each remittance, your available balance is equal to any Sales Proceeds received by us or our
    Affiliates but not previously remitted to you as of the applicable Remittance Calculation Date (which
    you will accept as payment in full forYourTransactions), less: (a) the Referral Fees; (b) the
    applicable Variable Closing Fee; (c) any Selling on Amazon Subscription Fees; (d) any other
    applicable fees described in this Agreement (including any applicable Program Policies); and (e) any
    amounts we require you to maintain in your account balance pursuant to this Agreement (including
    payments withheld pursuant to Section 2 of the General Terms, ffi.L[,            and applicable
    Program Policies),

    We may establish a reserve on your account based on our assessment of risks to Amazon or third
    parties posed by your actions or performance, and we may modify the amount of the reserve from
    time to time at our sole discretion.
    When you either initially provide or later change Your Bank Account information, the Remittance
    Calculation Date may be deferred by up to 14 days. For sellers that registered after October 30,
    2011, and are on the Individual selling plan, the remittance amount will not include Sales Proceeds
    from the l4-day period before the date of remittance. If you refund money to a customer in
    connection with one of Your Transactions, and the refund is routed through us (or our Affiliate), on
    the next available Remittance Calculation Date we will refund to you the amount of the Referral Fee
    paid by you to us attributable to the amount of the customer refund (including refunded taxes and
    customs duties only to the extent specified in the applicable Tax Policies), less the Refund
    Administration Fee for each of Your Products refunded that is not a BMVD Product, which amount we
    may retain as an administrative fee; provided, however, that in the case of a complete refund of
    Sales Proceeds for a Media Product, we will refund to you the full amount of any Variable Closing Fee
    paid by you to us (and in the case of a partial refund of Sales Proceeds for a Media Product, we will
    not refund to you any portion of any Variable Closing Fee paid by you to us). We will remit any
    amounts to be refunded by us pursuant to this subsection from time to time together with the next
    remittance to be made by us to you. "Refund Administration Fee" means the applicable fee
    described on the Refund Administration Fee Schedule for the applicable Amazon Site.

    S-7 Control of Amazon Sites.
    We have the right in our sole discretion to determine the content, appearance, design, functionality,
    and all other aspects of the Amazon Sites, including by redesigning, modifying, removing, or
    restricting access to any of them, and by suspending, prohibiting, or removing any listing.
    S-8 Effect of Termination.
    Upon termination of these Selling on Amazon Service Terms in connection with a particular Amazon
    Site, all rights and obligations of the Parties under these Selling on Amazon Service Terms with
    regard to such Amazon Site will be extinguished, except that the rights and obligations of the Parties
    with respect to Your Transactions occurring during the Term will survive the termination or
    expiration of the Term.

    Selling on Amazon Definitions
    "Amazon-Fulfilled Products" means any of Your Products that are fulfilled using the Fulfillment by
    Amazon Service.

    "Amazon Refund Policies" means the return and refund policies published on the applicable
    Amazon Site and applicable to products and services offered via that Amazon Site.




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    "BMVD Product" means any book, magazine or other publication, sound recording, video
    recording, and/or other media product in any format, including any subscription, in each case
    excluding any software product, computer game/ and/or video game'

    "Excluded Offer" means any discount, rebate, promotional offer, or other term of offer and/or sale
    thatyou: (a) have attempted to make available through a particularAmazon Site butthatwe do not
    honor or support (but only until such time as we honor or support the same on such Amazon Site);
    or (b) make available solely to third parties that either (i) purchase products solely for resale and
    who are not end users of such products (i.e., wholesale purchasers), or (ii) if the Elected Country is
    Canada, Mexico, or the United States, have affirmatively elected and opted-in to pafticipate in your
    or one of your Affiliates' membership-based customer loyalty or customer incentive programs.
    "Expected Ship Date" means, with respect to any of Your Products, either: (a) the end of the
    shipping availability period (which begins as of the date on which the relevant order is placed by the
    customer), or the shipping availability date, as applicable, specified by you in the relevant
    inventory/product data feed for Your Product; or (b) if you do not specify shipping availability
    information in such inventory/product data feed or that Your Product is in a product category that
    Amazon designates as requiring shipment within two (2) business days, two (2) business days after
    the date on which the relevant order is placed by the customer.
    "Media Product" means any book, magazine or other publication, sound recording, video
    recording, software product, computer game/ videogame, or other media product in any format,
    including any related subscription, offered through an Amazon Site.

    "Purchase Price" means the total amount payable or paid for Your Product (including taxes and
    shipping and handling charges only to the extent specified in the applicable Tax Policies).

    "Remittance Calculation Date" is the date that is two (2) business days prior to the date of
    remittance (the "Remittance Calculation Date")'

    "Required Product Information" means, with respect to each of Your Products in connection with
    a particular Amazon Site, the following (except to the extent expressly not required under the
    applicable Program Policies): (a) description, including as applicable, location-specific availability and
    options, scheduling guidelines and service cancellation policies; (b) SKU and UPC/EAN/JAN numbers,
    and other identifying information as Amazon may reasonably request; (c) information regarding in-
    stock status and availability, shipping limitations or requirements, and Shipment Information (in
    each case, in accordance with any categorizations prescribed by Amazon from time to time); (d)
    categorization within each Amazon product category and browse structure as prescribed by Amazon
    from time to time; (e) digitized image that accurately depicts only Your Product, complies with all
    Amazon image guidelines, and does not include any additional logos, text or other markings; (f)
    Purchase Price; (g) shipping and handling charge (in accordance with our standard functionality); (h)
    any text, disclaimers, warnings, notices, labels, warranties, or other content required by applicable
    Law to be displayed in connection with the offer, merchandising, advertising, or sale of Your Product;
    (i) any vendor requirements, restocking fees or other terms and conditions applicable to such
    product that a customer should be aware of prior to purchasing the product; (j) brand; (k) model; (l)
    product dimensions; (m) weight; (n) a delimited list of technical specifications; (o) SKU and
    UPC/EAN/JAN numbers (and other identifying information as we may reasonably request) for
    accessories related to Your Product that is available in our catalog; (p) the state or country Your
    Product ships from; and (q) any other information reasonably requested by us (e.9., the condition of
    used or refurbished products; and invoices and other documentation demonstrating the safety and
    authenticity of Your Products).
    "seller-Fulfilled Products"     means any of Your Products that are not fulfilled using the Fulfillment
    by Amazon Service.

    "shipment Information"        means, with respect to any of Your Products, the estimated or promised
    shipment and delivery date.

    "Street Date" means the date(s), if any, specified by the manufacturer, distributor, and/or licensor
    of a product as the date before which specified information regarding such product (e.9., title of a



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    book) should not be disclosed publicly, or such product should not be delivered or otherwise made
    available to customers.

    "URL Marks" means any Trademark, or any other logo, name, phrase, identifier, or character
    string, that contains or incorporates any top level domain (e'9., .com, .edu, .ca, .fr, .jp) or any
    variation of a top level domain (e.9., dot com, dotcom, net, orcom).

    "Your Transaction" is defined in the General Terms of this Agreement; however, as used in these
    Selling on Amazon Service Terms, it means any and all such transactions through Selling on Amazon
    only.

    Fulfillment by Amazon Service Terms
    Fulfillment by Amazon ("FBA") provides fulfillment and associated services for Your Products,

    These FBA Service Terms are part of the Agreement, and, unless specifically provided otherwise,
    concern and apply only to your participation in FBA. BY REGISTERING FOR OR USING FBA, YOU (ON
    BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THE
    AGREEMENT, INCLUDING THESE FBA SERVICE TERMS. You expressly agree that Amazon may
    engage its Affiliate(s) or a third party in order to complete one or more of the fulfillment and
    associated services outlined below.

    If the Elected Country is Japan, the following applies to you: Notwithstanding anything to the
    contrary in the Agreement, if there should be any subject matter specified in the "Standard Storage
    Bailment Terms and Conditions (Hyoujun Soko Kitaku Yakkan - Otsu)" that is not specified in the
    Agreement, including these FBA Service Terms, upon your request, such provision will be determined
    by discussion and mutual agreement of the parties.

    Fulfillment Services
    F-1 Your Products
    Once you are accepted into FBA, you must apply to register each product you offer that you wish to
    include in the FBA program. We may refuse registration in FBA of any product, including on the basis
    that it is an FBA Excluded Product or that it violates applicable Program Policies, You may at any
    time withdraw registration of any of Your Products from FBA'
    F-2 Product and Shipping Information
    You will, in accordance with applicable Program Policies, provide in the format we require accurate
    and complete information about Your Products registered in FBA, and will provide Fulfillment
    Requests for any Units fulfilled using FBA that are not sold through an Amazon Site ("Multi-
    Channel Fulfillment Units"). You will promptly update any information about Your Products in
    accordance with our requirements and as necessary so that the information is at all times accurate
    and complete.

    F-3 Shipping to Amazon
    F-3,1 Except as otherwise provided in Section F-3.4 and Section F-5, FBA is limited to Units that are
    shipped to and from fulfillment centers located within the applicable Elected Country, to be delivered
    to customers in the same Elected Country only. You will ship Units to us in accordance with
    applicable Program Policies. You will be responsible for all costs incurred to ship the Units to the
    shipping destination (including costs of freight and transit insurance) and Amazon will not pay any
    shipping costs. You are responsible for payment of all customs, duties, taxes, and other charges. In
    the case of any improperly packaged or labeled Unit, we may return the Unit to you at your expense
    (pursuant to Section F-7) or re-package or re-label the Unit and charge you an administrative fee.

    F-3.2 You will not deliver to us, and we may refuse to accept, any shipment or Unsuitable Unit.
    F-3.3 We may, at our option, allow you to ship Units at your expense (as described in Section F-9.2)
    to fulfillment centers using discounted shipping rates that we may make available to you for certain



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    carriers. In such event, you will use the processes and supply the information that we require for you
    to obtain such discounted rates. You also must comply with standard operating procedures, weight
    and size restrictions, and other shipping requirements of the applicable carriers. If we provide you
    with the estimated shipping costs prior to shipment, you acknowledge and agree that actual shipping
    costs may vary from such estimates. In addition, if the weight of the Unit, as determined by the
    applicable carrier, differs from that submitted by you to us for purposes of determining the
    estimated shipping costs, then: (a) you may be charged more than the estimated shipping costs if
    the carrier determines that such Unit weighs more than as submitted by you; or (b) you may be
    charged the full amount of the estimated shipping costs even if the carrier determines the weight to
    be less than that submitted by you. You will not use carrier account information (e.9., carrier
    account number, amount of shipping rates, etc.) for any purpose, nor disclose such information to
    any third party, and you will protect such information as Amazon's confidential information in
    accordance with Section 11of the General Terms of this Agreement, As between you, us/ and the
    applicable carrier, you will be the shipper of record, and we will make payment to the carrier with
    respect to the shipment of all Units using such discounted rates. Title and risk of loss for any Unit
    shipped using discounted rates provided by us under this Section will remain with you, and our
    provision of such shipping rates will not create any liability or responsibility for us with respect to any
    delay, damage, or loss incurred during shipment. You authorize the applicable carrier to provide us
    with all shipment tracking information.
    F-3.4If you ship Units from outside the applicable Elected Country to fulfillment centers, you will list
    yourself as the importer/consignee and nominate a customs broker, If Amazon is listed on any
    import documentation, Amazon reserves the right to refuse to accept the Units covered by the
    import documents and any costs assessed against or incurred by Amazon will be collected from Your
    Bank Account, deducted from amounts payable to you, or by other method at our election.

    F-4 Storage
    We will provide storage services as described in these FBA Service Terms once we confirm receipt of
    delivery. We will keep electronic records that track inventory of Units by identifying the number of
    Units stored in any fulfillment center, We will not be required to physically mark or segregate Units
    from other inventory units (e.g., products with the same Amazon standard identification number)
    owned by us, our Affiliates or third parties in the applicable fulfillment center(s). If we elect to
    commingle Units with such other inventory units, both parties agree that our records will be
    sufficient to identify which products are Units. We may move Units among facilities. If there is a loss
    of or damage to any Units while they are being stored, we will, as your sole remedy, reimburse you
    in accordance with the FBA Guidelines, and you will, at our request, provide us a valid tax invoice for
    the compensation paid to you. If we reimburse you for a Unit, we will be entitled to dispose of the
    Unit pursuant to Section F-7. This reimbursement is our total liability for any duties or obligations
    that we or our agents or representatives may have and is your only right or remedy. At all other
    times, you will be solely responsible for any loss of, or damage to, any Units. Our confirmed receipt
    of delivery does not: (a) indicate or imply that any Unit has been delivered free of loss or damage,
    or that any loss or damage to any Unit later discovered occurred after confirmed receipt of delivery;
    (b) indicate or imply that we actually received the number of Units of Your Product(s) specified by
    you for such shipment; or (c) waive, limit, or reduce any of our rights under this Agreement. We
    reserve the right tO impose, and change from time to time, scheduling restrictions and volume
    limitations on the delivery and storage of your inventory in fulfillment centers, and you will comply
    with any of these restrictions or limitations.
    F-5 Fulfillment
    As part of our fulfillment services, we will ship Units from our inventory of Your Products to the
    shipping addresses in the Elected Country included in valid customer orders, or submitted by you as
    part of a Fulfillment Request. We may ship Units together with products purchased from other
    merchants, including any of our Affiliates. We also may ship Units separately that are included in a
    single Fulfillment Request. If you elect to participate in our export fulfillment services, we will also
    ship Your Products that we determine to be eligible (each, a "Foreign-Eligible Product") to
    Foreign Addresses within countries we determine to be eligible for foreign shipments, subject to the
    additional terms on foreign shipments in the applicable FBA Guidelines.



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    F-G Customer Returns

    F-6.1 You will be responsible for and will accept and process returns of, and provide refunds and
    adjustments for, any Multi-Channel Fulfillment Units in accordance with the Agreement (including the
    applicable Program Policies).

    F-6.2 We will receive and process returns of any Amazon Fulfillment Units that were shipped to
    addresses within the Elected Country in accordance with the terms of your Seller Agreement, these
    FBA Service Terms, and the Program Policies. Any Sellable Units that are also Amazon Fulfillment
    Units and that are properly returned will be placed back into the inventory of Your Products in the
    FBA Program. We may fulfill customer orders forYour Products with any returned Amazon Fulfillment
    Units. Except as provided in Section F-7, you will retake title of all Units that are returned by
    customers.

    F-6.3 Subject to Section F-7, we will, at your direction, either return or dispose of any Unit that     is
    returned to us by a customer and that we determine is an Unsuitable Unit.

    F-6.4If  Amazon receives a customer return of a Multi-Channel Fulfillment Unit, you will direct us to
    return or dispose of the Unit at your own cost failing which we may dispose of the Unit as provided in
    Section F-7.

    F-7 Returns to You and DisPosal
    F-7.1You may, at any time, request that Units be returned to you or that we dispose of Units.
    F-7.2Wemay return Units to you for any reason, including upon termination of these FBA Service
    Terms. Returned Units will be sent to your designated shipping address. However, if (a) the
    designated shipping address we have for you is outdated or incorrect, (b) you have not provided or,
    upon our request, confirmed a designated shipping address in the Elected Country, or (c) we cannot
    make arrangements for you to pay for the return shipment, then the Unit(s) will be deemed
    abandoned and we may elect to dispose of them in our sole discretion.

    We may dispose of any Unsuitable Unit (and you will be deemed to have consented to our action):
    (i) immediately if we determine in our sole discretion that the Unit creates a safety, health, or
    liability risk to Amazon, our personnel, or any third party; (ii) if you fail to direct us to return or
    dispose of any Unsuitable Unit within thirty (30) days after we notify you that the Unit has been
    recalled; or (iii) if you fail to direct us to return or dispose of any Unsuitable Unit within thirty (30)
    days (or as otherwise specified in the applicable Program Policies) after we notify you, In addition,
    you will reimburse us for expenses we incur in connection with any Unsuitable Units.

    F-7.3 We may dispose of any Unit we are entitled to dispose of (including any Unsuitable Units) in
    the manner we prefer. Title to each disposed Unit will transfer to us at no cost to us as necessary for
    us to dispose of the Unit, and we will retain all proceeds, if any, received from the disposal.

    F-7.4You will promptly notify us of any recalls or potential recalls, or safety alerts of any of Your
    Products and cooperate and assist us in connection with any recalls or safety alerts, including by
    initiating the procedures for returning items to you under our standard processes. You will be
    responsible for all costs and expenses you, we or any of our or your Affiliates incur in connection
    with any recall or potential recall or safety alerts of any of Your Products (including the costs to
    return, store, repair, liquidate, or deliver to you or any vendor any of these products).
    F-8 Customer Service
    F-8.1 For Multi-Channel Fulfillment Units we will have no customer service obligations other than to
    pass any inquiries to your attention at the contact you provide, and to make available a reasonable
    amount of information regarding the status of the fulfillment of Your Products if you request it and if
    and to the extent we possess the requested information. You will ensure that all of your policies and
    messaging to your customers regarding shipping of Your Products and other fulfillment-related
    matters, reflect our policies and requirements, including with regard to shipping methods, returns,
    and customer service; and, you will conspicuously display on your website(s), in emails or in other
    media or communications any specific disclosures, messaging, notices, and policies we require.



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    F-8.2 We will be responsible for and have sole discretion regarding all customer service issues
    relating to packaging, handling and shipment, and customer returns, refunds, and adjustments
    related to Amazon Fulfillment Units. We will have the right to determine whether a customer will
    receive a refund, adjustment or replacement for any Amazon Fulfillment Unit and to require you to
    reimburse us where we determine you have responsibility in accordance with the Agreement
    (including these FBA ServiceTerms and the Program Policies). Except as provided in this Section F-B
    regarding any Amazon Fulfillment Units, customer service will be handled in accordance with your
    Seller Agreement.

    F-8.3 In situations relating to Amazon Fulfillment Units where the wrong item was delivered or the
    item was damaged or lost or is missing, unless we determine that the basis for such request is
    caused by you or any of your employees, agents, or contractors, we will, as your sole and exclusive
    remedy and at our option: (a) for any Amazon Fulfillment Unit, (i) ship a replacement Unit to the
    customer and reimburse you in accordance with the FBA Guidelines for the replacement Unit, or (ii)
    process a refund to the customer and reimburse you in accordance with the FBA Guidelines for the
    Unit; or (b) for any Multi-Channel Fulfillment Unit, reimburse you in accordance with the FBA
    Guidelines for the Unit (and you will, at our request, provide us a valid tax invoice for the
    compensation paid to you). Any customer refund will be processed in accordance with the Selling on
    Amazon and the Transaction Processing Service Terms (if the Elected Country for a Service is the
    United States). Notwithstanding the Selling on Amazon Service Terms, we will be entitled to retain
    the applicable fees payable to us under the Selling on Amazon Service Terms and these FBA Service
    Terms, respectively. Except as expressly provided in this Section F-8.3, you will be responsible for all
    costs associated with any replacement or return'

    F-8.4 If we provide a replacement Unit or refund as described in Section F-8,3 to a customer and
    that customer returns the original Unit to us, we will be entitled to dispose of the Unit pursuant to
    Section F-7 , or, if it is a Sellable Unit, we may, at our option, place such Unit back into your
    inventory in accordance with Section F-6. If we do put a Unit back into your inventory, you will
    reimburse us for the applicable Replacement Value (as described in the FBA Guidelines) of the
    returned Unit. Any replacement Unit shipped by us under these FBA Service Terms will be deemed to
    be, and will be treated in the same manner as, an order and sale of such Unit from you to the
    customer via the applicable Amazon Site or Service in accordance with, and subject to, the terms
    and conditions of this Agreement and your Seller Agreement'

    F-9 Compensation for Fulfillment Services
    F-9.1 Handling and Storage Fees. You will pay us the applicable fees described in the applicable
    Fulfillment by Amazon Fee Schedule, You will be charged the Storage Fees beginning on the day (up
    to midnight) that the Unit arrives at a fulfillment center and is available for fulfillment by Amazon (or
    in the case of any Unsuitable Unit, the arrival day (up to midnight)), until the earlier of : (a) the day
    (up to midnight) we receive a valid customer order for such product or a request from you to return
    or dispose of the Unit; or (b) the day (up to midnight) we actually ship the Unit to your designated
    return location or dispose of the Unit.
    F-9.2 Shipping and Gift Wrap. For any Amazon Fulfillment Units we will determine the amounts
    charged to the customer for shipping and gift wrap services for the Units that we fulfill through the
    FBA Program. As between you and us, these charges will be your charges to the customer, and we
    will report them to you. We will charge you (and you will pay us) a fee equal to the amount of such
    charges to the customer. In the case of shipments of Units sold through the Amazon Site that qualify
    for the "Free Shipping" promotion, the amounts charged to the customer for shipping the Selling on
    Amazon Units that Amazon fulfills will first be charged to the customer and will next be deducted
    from the total charges to the customer as your promotion and Amazon will not charge you the fee
    described above. If you ship Units to us using the shipping rates that we may make available
    pursuant to Section F-3.3, you will reimburse us forthe actual amounts charged to us by the
    applicable carrier for such shipments.

    F-9.3 Proceeds. We may keep all proceeds of any Units that we dispose of or to which title
    transfers, including returned, damaged, or abandoned Units. You will have no security interest, lien,




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    or other claim to the proceeds that we receive in connection with the sale, fulfillment, and/or
    shipment of these Units.

    F-1O   Indemnity
    In addition to your obligations under Section 6 of the General Terms of this Agreement, you also
    agree to indemnify, defend, and hold harmless us, our Affiliates, and our and their respective
    officers, directors, employees, representatives, and agents against any Claim that arises from or
    relates to: (a) the Units (whether or not title has transferred to us, and including any Unit that we
    identify as yours pursuant to Section F-4 regardless of whether such Unit is the actual item you
    originally sent to us), including any personal injury, death, or property damage; (b) the shipment,
    export, or delivery of Your Products to Foreign Addresses (including with respect to any classification
    data and other information provided by you to us in connection therewith, and notwithstanding any
    rights we have under Section F-5 or any certifications we may make in connection with the
    shipment, export, ordelivery of Your Products); (c) any of YourTaxes orthe collection, payment, or
    failure to collect or pay Your Taxes; and, if applicable (d) any sales, use, value added, personal
    property, gross receipts, excise, franchise, business, or other taxes or fees, or any customs, duties,
    or similar assessments (including penalties, fines, or interest on any of the foregoing) imposed by
    any government or other taxing authority in connection with the shipment of Foreign-Eligible
    Products to Foreign Addresses (collectively, "Foreign Shipment Taxes").

    F-l1   Release

    You, on behalf of yourself and any successors, subsidiaries, Affiliates, officers, directors,
    shareholders, employees, assigns, and any other person or entity claiming by, through, under, or in
    concert with them (collectively, the "Releasing Parties"), irrevocably acknowledge full and
    complete satisfaction of and unconditionally and irrevocably release and forever fully discharge
    Amazon and each of our Affiliates, and any and all of our and their predecessors/ successors, and
    Affiliates, past and present, as well as each of our and their partners, officers, directors,
    shareholders, agents, employees, representatives, attorneys, and assigns, past and present, and
    each of them and all Persons acting by, through, under, or in concert with any of them (collectively,
    the "Released Parties"), from any and all claims, obligations, demands, causes of action, suits,
    damages, losses, debts, or rights of any kind or nature, whether known or unknown, suspected or
    unsuspected, absolute or contingent, accrued or unaccrued, determined or speculative (collectively,
    "Losses") which the Releasing Parties now own or hold or at any time have owned or held or in the
    future may hold or own against the Released Parties, or any of them, arising out of, resulting from,
    or in any way related to the shipment, export, or delivery of Your Products to Foreign Addresses,
    including any tax registration or collection obligations. You, on behalf of yourself and all other
    Releasing Parties, recognize that you, and each of them, may have some Losses, whether in tort,
    product liability, contract, warranty, or otherwise, against the Released Parties of which you/ or any
    of them, are totally unaware and unsuspecting, or which may arise or accrue after the date you
    register for or use FBA, which the Releasing Parties are giving up by agreeing to these FBA Service
    Terms. It is your intention in agreeing to these FBA Service Terms that these FBA Service Terms will
    deprive the Releasing Parties of each and all such Losses and prevent the Releasing Party from
    asserting any such Losses against the Released Parties, or any of them. In addition to the foregoing'
    you acknowledge, on behalf of yourself and all other Releasing Parties that you are familiar with
    Section 7542 of the Civil Code of the State of California, as follows:

    "A general release does not extend to claims which the creditor does not know or suspect
    to exist in his favor at the time of executing the release, which if known by him must have
    materially affected his settlement with the debtor."
    You, on behalf of yourself and all other Releasing Parties, expressly waive and relinquish any rights
    that you had or may have under Section t542 of the Civil Code of the State of California or any
    similar provision of the law of any other jurisdiction, to the full extent that you may lawfully waive all
    such rights pertaining to the subject matter of these FBA Service Terms'

    F-12 Disclaimer




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    IN ADDITION TO THE DISCLAIMER IN SECTION 7 OF THE GENERAL TERMS OF THIS AGREEMENT,
    WE DISCLAIM ANY DUTIES OF A BAILEE OR WAREHOUSEMAN, AND YOU WAIVE ALL RIGHTS AND
    REMEDIES OF A BAILOR (WHETHER ARISING UNDER COMMON LAW OR STATUTE OR OTHERWISE),
    RELATED TO OR ARISING OUT OF ANY POSSESSION, STORAGE, OR SHIPMENT OF YOUR PRODUCTS
    BY US OR OUR AFFILIATES OR ANY OF OUR OR THEIR CONTRACTORS OR AGENTS.

    F-13 Effect of Termination
    Following any termination of the Agreement or these FBA Service Terms in connection with a
    particular Elected Country, we will, as directed by you, return to you or dispose of the Units held in
    tfrat Elected Country as provided in Section F-7. If you fail to direct us to return or dispose of the
    Units within thirty (30) days (or as otherwise specified in the applicable Program Policies) after
    termination, then we may elect to return and/or dispose of the Units in whole or in part, as provided
    in Section F-7, and you will be deemed to have consented to our actions. Upon any termination of
    these FBA Service Terms in connection with a particular Elected Country, all rights and obligations of
    the parties under these FBA Service Terms in connection with such Elected Country will be
    extinguished, except that the rights and obligations of the parties under Sections F-1. F-2. F-3. F-4.
    F-5. F-6, F-7. F-8, F-9. F-11, F-12. and F-13 with respect to Units received or stored by Amazon as
    of the date of termination will survive the termination.

    F-14 Tax Matters
    You understand and acknowledge that storing Units at fulfillment centers may create tax nexus for
    you in any country, state, province, or other localities in which your Units are stored, and you will be
    solely responsible for any taxes owed as a result of such storage. If any Foreign Shipment Taxes or
    Your Taxes are assessed against us as a result of performing services for you in connection with the
    FBA Program or otherwise pursuant to these FBA Service Terms, you will be responsible for such
    Foreign Shipment Taxes and Your Taxes and you will indemnify and hold Amazon harmless from
    such Foreign ShipmentTaxes and YourTaxes as provided in Section F-10 of these FBA Service
    Terms.

    F-15 Additional Representation
    In addition to your representations and warranties in Section 5 of the General Terms of this
    Agreement, you represent and warrant to us that: (a) you have valid legal title to all Units and all
    necessary rights to distribute the Units and to perform under these FBA Service Terms; (b) you will
    deliver all Units to us in new condition (or in such condition otherwise described by you in the
    applicable Your Product listing) and in a merchantable condition; (c) all Units and their packaging will
    comply with all applicable marking, labeling, and other requirements required by Law; (d) no Unit is
    or will be produced or manufactured, in whole or in part, by child labor or by convict or forced labor;
    (e) you and all of your subcontractors, agents, and suppliers involved in producing or delivering
    Units will strictly adhere to all applicable Laws of the Elected Country, its territories, and all other
    countries where Units are produced or delivered, regarding the operation of their facilities and their
    business and labor practices, including working conditions, wages, hours, and minimum ages of
    workers; and (f) that all Foreign-Eligible Products (i) can be lawfully exported from Canada, Mexico,
    Japan, or the United States, as applicable, without any license or other authorization; and (ii) can be
    lawfully imported into, and comply with all applicable Laws of, any eligible country.
    FBA Definitions

    "Amazon Fulfillment Units" means Units fulfilled using FBA that are sold through an Amazon Site.
    For avoidance of doubt, if you have successfully registered for or used both the FBA and Selling on
    Amazon Services, then the term "Amazon Fulfillment Units" and the defined term "Amazon Fulfilled
    Products" in the Selling on Amazon Service Terms both refer to the same items.

    "FBA Excluded Product" means any Unit that is an Excluded Product or is otherwise prohibited by
    the applicable Prooram Policies.
    "Foreign Address" means (a) if the Elected Country is the United States, any mailing address that
    is not (i) within the fifty states of the United States or Puerto Rico, or (ii) an APO/FPO address; and



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    (b) if the Elected Country is not the United States, any mailing address that is not within the Elected
    Country.

    "Fulfillment Request"  means a request that you submit to us (in accordance with the standard
    methods for submission prescribed by us) to fulfill one or more Multi-Channel Fulfillment Units.

    "Multi-Channel Fulfillment Units" has the meaning in Section       F-2.

    "Sellable Unit" means a Unit that is not an Unsuitable Unit.
    "Seller Agreement" means the Selling on Amazon Service Terms, the Merchants@ Program
    Agreement, the Marketplace Participation Agreement, any successor to any of these agreements, or
    any other similar agreement (as determined by Amazon) between you and us that permits you to
    offer products and services via a particular Amazon Site.

    "Shipping Information" means with respect to any purchased Unit(s), the following information:
    the name of the recipient, the shipping address, the quantity of Units to be shipped, and any other
    shipping-related information we may reasonably request.

    "Unit" means a unit of Your Product that you deliver to Amazon in connection with the     FBA
    Program.

    "Unsuitable Unit" means a Unit: (a) that is defective, damaged, unfit for a particular purpose/ or
    lacking required label(s); (b) the labels for which were not properly registered with Amazon before
    shipment or do not match the product that was registered; (c) that is an FBA Excluded Product or
    does not comply with the Agreement (including applicable Service Terms and Program Policies); (d)
    that Amazon determines is unsellable or unfulfillable; or (e) that Amazon determines is otherwise
    unsuitable.

    Amazon Clicks Service Terms
    Amazon Clicks, including Amazon Sponsored Products ("Amazon Clicks"), is a Service that allows
    you to advertise Your Products on Amazon Network Properties.

    These Amazon Clicks Service Terms are part of the Agreement, and, unless specifically provided
    otherwise, concern and apply only to your participation in Amazon Clicks. BY REGISTERING FOR OR
    USING AMAZON CLICKS, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT)
    AGREE TO BE BOUND BY THE AGREEMENT, INCLUDING THESE AMAZON CLICKS SERVICE TERMS.

    C-l Amazon Clicks
    Your Ads may be displayed or made available on Amazon Network Properties as we determine. We
    do not guarantbe that Your Ads will be displayed or made available on any Amazon Network
    Property, or that Your Ads will appear in any particular position or rank. Notwithstanding any other
    provision of the Agreement, we may in our sole discretion restrict, modify or otherwise determine
    the content/ appearance, design, functionality and all other aspects of Your Ads, and we may remove
    any of Your Ads without notice. Except to the extent expressly stated in the Agreement, you are
    solely responsible for all obligations, risks and other aspects pertaining to the sale of any of Your
    Products referred to in Your Ads, including without limitation order processing, order fulfillment,
    returns, refunds, recalls, misdelivery, theft, customer service, and collection of taxes. In addition,
    you are solely responsible for all ad content, URLs and any other information you submit to us in
    connection with Your Ads, and the websites and/or other properties to which Your Ads direct users
    (other than the Amazon Site).

    We may use mechanisms that rate, or allow users to rate, Your Products and/or your performance,
    and we may make these ratings and feedback publicly available. We may use any means we
    determine necessary to review and monitor Your Ads to improve our service and ad quality.

    C-2 Product Information




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    You will, in accordance with applicable Program Policies, provide, in the format we require, accurate
    and complete information for each of Your Ads. You will update this information as necessary to
    ensure that it is at all times accurate and complete, You will not provide any information for, or
    otherwise seek to advertise for sale on any Amazon Network Property, any products that are
    unlawful or are otherwise prohibited by applicable Program Policies.

    C-3 Amazon Clicks Requirements
    Using the highest industry standards, you will treat users and customers who link to Your Products
    via any of YourAds with courtesy and respect during all stages of the buying process and resolve to
    our and their satisfaction in a timely and professional manner any related customer service matters
    we or they bring to your attention. You will ensure that Your Materials and your advertisement, offer,
    sale and fulfillment of Your Products comply with all applicable Laws and Program Policies. You will
    not, directly or indirectly, engage in any fraudulent, impermissible, inappropriate or unlawful
    activities in connection with your participation in Amazon Clicks, including: (a) sending multiple
    listings of identical products in the same feed or sending multiple feeds under different accounts; (b)
    generating fraudulent, repetitive or otherwise invalid clicks, impressions, queries or other
    interactions, whether through the use of automated applications or otherwise; (c) collecting any user
    information from any Amazon Network Property or retrieving, extracting, indexing or caching any
    portion of any Amazon website or services or the websites or services of our Affiliates, whether
    through the use of automated applications or otherwise; (d) targeting communications of any kind
    on the basis of the intended recipient being a user of any Amazon Network Property; (e) interfering
    with the proper working of any Amazon Network Property, Amazon Clicks or our systems; or (f)
    attempting to bypass any mechanism we use to detect or prevent any of the activities described in
    this paragraph.
    C-4 Payment and Tax Matters
    You will pay us the applicable fees we calculate for your use of the Amazon Clicks Service. Any per
    Click fee will be determined solely by Amazon based on the amount you bid for each of Your Ads,
    consistent with any applicable product category minimums and Program Policies. You agree to pay
    us the applicable fees we calculate for your use of the Amazon Clicks Service in the applicable Local
    Currency only. In addition to any other means permitted by the Agreement, we may collect the
    applicable fees: (a) in accordance with the payment ladder described in the Program Policies; and
    (b) on a recurring monthly basis for any remaining unpaid fees accrued after the last ladder payment
    charged each month. If we choose to invoice you for amounts due to us under the Agreement, you
    will pay the invoiced amounts within 30 days of the date of the applicable invoice, We may require
    payment of interest at the rate of 1,57o per month compounded monthly (19.56% compounded
    annually) or the highest legally permissible rate, whichever is lower, on all amounts not paid when
    due until paid in full. You will reimburse us for all fees incurred in connection with our collection of
    amounts payable and past due. You waive all claims related to the fees we charge (including without
    limitation fees based on suspected invalid Clicks on or invalid impressions of YourAds), unless
    claimed within 60 days after the date charged. You understand third parties may generate
    impressions or Clicks on Your Ads for improper purposes, and you accept this risk. Your sole and
    exclusive remedy for any suspected invalid impressions or Clicks is to request advertising credits
    within the timeframe set out above.

    C-5 Effect of Termination
    Upon any termination of the Term of the Agreement or these Amazon Clicks Service Terms, all rights
    and obligations of the parties under these Amazon Clicks Service Terms will terminate, except that
    Sections C-I, C-2, C-4, C-5, C-6 and C-7 will survive termination.

    C-6 Agents
    If you are an Agent: (a) you represent and warrant that you have been appointed as an agent of an
    Amazon Clicks Participant, that you are duly authorized to enter into this Agreement on behalf of the
    Amazon Clicks Participant and have full power and authority to bind the Amazon Clicks Participant to
    this Agreement, that all of your actions related to this Agreement and the Amazon Clicks Service will
    be within the scope of this agency, and that the Agreement including these Amazon Clicks Service



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    Terms will be enforceable against the Amazon Clicks Participant in accordance with its terms; (b) you
    will, upon our request, provide us written confirmation of the agency relationship between you and
    the Amazon Clicks Participant, including, for example, the Amazon Clicks Participant's express
    acknowledgment that you are its Agent and are authorized to act on its behalf in connection with
    Amazon Clicks; (c) except as set forth in the Agreement, you will not make any representation,
    warranty, promise or guarantee about Amazon Clicks, us or your relationship with us; (d) you will
    perform your duties pursuant to the Agreement including these Amazon Clicks Service Terms in a
    professional manner consistent with any requirements we may establish; (e) you will not at any time
    use information received in connection with Amazon Clicks to conduct any marketing efforts targeted
    at our existing advertisers or Amazon Clicks Participants; (f) you and the Amazon Clicks Participant
    are each responsible for all payment obligations under these Amazon Clicks Service Terms, and you
    and the Amazon Clicks Participant each waive any rights that might require us to proceed against
    one or more of you prior to proceeding against the other; and (g) you will abide by all restrictions
    applicable to the Amazon Clicks Participant under this Agreement, including without limitation
    confidentiality and non-use obligations (e,g., you will not disclose any Confidential Information
    generated or collected in connection with Amazon Clicks to any person or entity other than to the
    Amazon Clicks Participant to which such data or information relates, and you will not use any
    Confidential Information generated or collected in connection with Amazon Clicks for any purpose
    other than creating, managing, and reporting advertising campaigns on Amazon Network Properties
    on behalf of the particular Amazon Clicks Participant that has expressly authorized you to do so).
    C-7 Miscellaneous
    C-7,I Representations
    In addition to your representations and warranties in Section 5 of the Agreement, you represent and
    warrant to us that: (a) on any website to which Your Ads link (other than on the Amazon Site), you
    will at all times post and comply with a privacy policy that complies with all applicable Laws; and (b)
    Your Materials and any information displayed on your website or on any website to which Your Ads
    link (for the Amazon Site, only to the extent such information is based on Your Materials) comply
    with all applicable Laws (including without limitation all marking and labelling requirements) and do
    not contain any false, misleading, infringing, defamatory, obscene or sexually explicit materials
    (except to the extent expressly permitted under applicable Program Policies)'

    C-T.2Indemnification
    In addition to your obligations under Section 6 of the Agreement, you agree to indemnify, defend
    and hold harmless us, our Affiliates, and our and their respective officers, directors, employees,
    representatives and agents against any Claim arising from or related to: (a) your participation in
    Amazon Clicks, including without limitation the display of any of Your Ads, any Content, data,
    materials or other items or information to which Your Ads link, or any actual or alleged infringement
    of any Intellectual Property Rights by any of the foregoing; (b) your actual or alleged breach of any
    representation, warranty, or obligation set forth in these Amazon Clicks Service Terms or the
    Program Policies; or (c) if you are an Agent, any breach or alleged breach of Section C-6 or your
    other representations, warranties, or obligations set forth in these Amazon Clicks Service Terms.
    C-7.3 Disclaimers
    IN ADDITION TO THE DISCLAIMERS IN SECTION 7 OF THE AGREEMENT, WE AND OUR AFFILIATES
    DISCLAIM AND YOU WAIVE ALL CLAIMS REGARDING ANY GUARANTEES ABOUT TIMING,
    POSITIONING, AD]ACENCY, PERFORMANCE, QUANTITY OR QUALITY OF (AS APPLICABLE):
    PLACEMENTS, TARGETING, IMPRESSIONS, CLICKS, CLICK RATES, CONVERSION RATES, AUDIENCE
    SIZE, DEMOGRAPHICS OR ADVERTISING COSTS.

    C-7.4 API Partner
    You may authorize another entity ("API Partner") to access or use the Amazon Clicks Service on
    your behalf through an application program inteface or other means as we may designate. Your
    authorization of an API Partner to access or use the Amazon Clicks Services is conditioned on our
    consent, which we may grant or withdraw at any time in our sole discretion. You will require your



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    API Partner to be bound by, and your API Partner will comply with, all restrictions applicable to you
    under this Agreement (including without limitation your confidentiality and non-use obligations). As
    between you and us/ you will be fully responsible for the acts, omissions, and obligations of your API
    Partner as if such acts, omissions, and obligations were your acts, omissions, and obligations.

    Amazon CIicks Definitions
    "Agent"   means an advertising agency or other person or entity who represents an Amazon Clicks
    Participant as its agent.

    "Amazon Clicks Participant" means any person or entity enrolled in Amazon Clicks by you if you
    are the Agent of that person or entity.

    "Amazon Network Properties" means: (a) the Amazon Site; (b) any website, device, service,
    feature or other online point of presence operated by Amazon or any of our Affiliates; and (c) any
    Amazon Associated Properties.

    "Click"   means each time a user clicks on any of Your Ads as determined solely by Amazon.

    "Your Ads" means any advertisement for Your Product based upon Your Materials that is displayed
    through Amazon Clicks.

    Transaction Processing Service Terms
    BY REGISTERING FOR OR USING ANY SERVICE OTHER THAN AMAZON CLICKS FOR WHICH THE
    ELECTED COUNTRY IS THE UNITED STATES, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU
    REPRESENT) AGREE TO BE BOUND BY THESE TRANSACTION PROCESSING SERVICE TERMS FOR
    THAT SERVICE. NOTWITHSTANDING THE FOREGOING, IF A SEPARATE AGREEMENT
    covERNs THE OFFE& SALE OR FULFILLMENT OF YOUR PRODUCTS ON THE US AMAZON
    srTE, THE TERMS OF THAT AGREEMENT WrLL CONTTNUE TO GOVERN THE PROCESSTNG OF
    YOUR TRANSACTIONS TO THE EXTENT DESCRIBED IN THAT AGREEMENT.

    P-1 Payments Processing Agency Appointment
    You authorize Amazon Payments, Inc, ("Amazon Payments") to act as your agent for purposes of
    processing payments, refunds and adjustments for Your Transactions, receiving and holding Sales
    Proceeds on your behalf, remitting Sales Proceeds to Your Bank Account, charging your Credit Card,
    and paying Amazon and its Affiliates amounts you owe in accordance with this Agreement or other
    agreements you may have with Amazon Affiliates. Amazon Payments provides the services described
    in these Transaction Processing Service Terms and the related services described in Sections S-1.4,
    S-2.2, 5-6, and F-8.3 of the Agreement (collectively, the "Transaction Processing Services").

    When a buyer instructs us to pay you, you agree that the buyer authorizes and orders us to commit
    the buyer's payment (less any applicable fees or other amounts we may collect under this
    Agreement) to you. You agree that buyers satisfy their obligations to you forYourTransactions when
    we receive the Sales Proceeds. We will remit funds to you in accordance with this Agreement.

    P-2 Remittance
    Subject to Section 2 of the General Terms of this Agreement, Amazon Payments will remit funds to
    you in accordance with Section 5-6 of the Agreement and these Transaction Processing Service
    Terms. Amazon Payments' obligation to remit funds collected by it on your behalf is limited to funds
    that have actually been received by Amazon Payments less amounts owed to Amazon, subject to
    chargeback or reversal or withheld for anticipated claims in accordance with this Agreement. Without
    limiting Amazon's rights to collect any amounts you owe/ Amazon Payments' receipt of Sales
    Proceeds discharges your obligation to pay applicable fees and other amounts under this Agreement
    to the extent the Sales Proceeds equal or exceed the fees and other amounts you owe and the Sales
    Proceeds are applied to the payment of those fees and amounts.

    P-3 Your Funds




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    Your Sales Proceeds will be held in an account with Amazon Payments (a "Seller Account") and will
    represent an unsecured claim against Amazon Payments. Your Sales Proceeds are not insured by the
    Federal Deposit Insurance Corporation. Priorto disbursing funds to you, Amazon Payments may
    combine Sales Proceeds held with the funds of other users of the Services, invest them, or use them
    for other purposes permitted by applicable Laws. You will not receive interest or any other earnings
    on any Sale Proceeds, To the extent required by applicable Laws, Amazon Payments will not use any
    funds held on your behalf for its corporate purposes, will not voluntarily make such funds available
    to its creditors in the event of bankruptcy or for any other purpose, and will not knowingly permit its
    creditors to attach such funds.

    P-4 Verification

    We may at any time require you to provide any financial, business or personal information we
    request to verify your identity. You authorize us to obtain from time to time consumer credit reports
    to establish or update your Seller Account or in the event of a dispute relating to this Agreement or
    the activity under your Seller Account. You agree to update all Seller Account information promptly
    upon any change. The Amazon Pavments Privacv Notice applies to your use of the Transaction
    Processing Services.

    P-5 Dormant Accounts
    If there is no activity (as determined by us) in connection with your Seller Account for the period of
    time set forth in applicable unclaimed property laws and we hold Sales Proceeds on your behalf, we
    will notify you by means designated by us and provide you the option of keeping your Seller Account
    open and maintaining the Sales Proceeds in your Seller Account. If you do not respond to our notice
    (s) within the time period we specify, we will send the Sales Proceeds in your Seller Account to your
    state of residency, as determined by us based on the information in your SellerAccount, If we are
    unable to determine your state of residency or your Seller Account is associated with a foreign
    country, your funds may be sent to the State of Delaware.

    Marketplace Web Service Terms
    The Marketplace Web Service ("MWS") is a Service that enables your systems to interface with
    certain features or functionality available to Sellers. These MWS Service Terms are part of the
    Agreement, but, unless specifically provided otherwise, concern and apply only to your participation
    in MWS.

    BY REGISTERING FOR OR USING THE MARKETPLACE WEB SERVICE, YOU (ON BEHALF OF YOURSELF
    OR THE BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THE AGREEMENT, INCLUDING THESE
    MARKETPLACE WEB SERVICE TERMS.

    MWS-1 Description of the Marketplace Web Service.
    We may make available to you MWS Materials that permit your systems to interface with certain
    features or functionality available to Sellers. MWS and MWS Materials are provided by us at no
    charge, subject to the General Terms of this Agreement and the Marketplace Web Service Terms. All
    terms and conditions applicable to MWS and MWS Materials are solely between you and us. MWS
    Materials that are Public Software may be provided to you under a separate license, in which case,
    notwithstanding any other provision of this Agreement, that license will govern your use of those
    MWS Materials. For the avoidance of doubt, except to the extent expressly prohibited by the license
    governing any MWS Materials that are Public Software, all of the non-license provisions of this
    Agreement will apply.

    MWS-2 License and Related Requirements.
    MWS-2.1 Generally. Subject to your completion of our online registration process for MWS and
    compliance with the terms of this Agreement, including all applicable Program Policies, we grant you
    a limited, revocable, non-exclusive, non-sublicenseable, nontransferable license to do the following:
    (a) access and use MWS, and install, copy, and use MWS Materials, solely in support of your use of
    the Services covered by this Agreement in accordance with any applicable MWS Specifications, or (b)



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    access and use MWS, and install, copy/ use, and distribute MWS Materials, for the purpose of
    integrating or enhancing a Seller's systems with the features and functionality permitted by us to be
    accessed through MWS, but solely in suppod of Sellers who (i) we approve as participating in good
    standing in the applicable Services covered by this Agreement, and (ii) have specifically authorized
    you to provide support services for their Selling Account under an agreement between you and the
    applicable Seller.

    MWS-2.2 Selling Account. You must maintain a Selling Account (which may be a Staging Account)
    in good standing at all times during the Term.

    MWS-2.3 License Restrictions. You may use and access MWS and applicable MWS Materials only
    through MWS APIs documented and communicated by us to you. You may not and may not
    authorize any other party to do any of the following with MWS or MWS Materials: (a) reverse
    engineer, decompile, or disassemble them; (b) modify or create derivative works based upon them
    in whole or in part; (c) distribute copies of them; (d) remove any proprietary notices or labels on
    them; (e) use any Public Software in any manner that requires, pursuant to the license applicable to
    such Public Software, that MWS or any MWS Materials be disclosed, licensed, distributed, or
    otherwise made available to anyone; (f) resell, lease, rent, transfer, sublicense, or otherwise transfer
    rights to them; (g) access or use them in a way intended to avoid incurring any applicable fees or
    exceeding usage limits or quotas; or (h) engage in any activities we otherwise prohibit. In addition,
    all licenses granted in these Marketplace Web Service Terms are conditional on your continued
    compliance with this Agreement, and will immediately and automatically terminate if you do not
    comply with any term or condition of this Agreement.

    MWS-2.4 Account Identifiers and Credentials. To access MWS APIs, you must use your Account
    Identifiers and Credentials in accordance with these Marketplace Web Service Terms. Your Account
    Identifiers and Credentials are for your personal use only and you must maintain their secrecy and
    security. You are solely responsible for all activities that occur using your Account ldentifiers and
    Credentials, regardless of whether the activities are undertaken by you or a third party (including
    your employees, contractors, or agents). You will provide us with notice immediately if you believe
    an unauthorized third party may be using your Account Identifiers and Credentials or if your Account
    Identifiers and Credentials are lost or stolen. We are not responsible for unauthorized use of your
    Account Identifiers and Credentials.

    MWS-2.5 Security of Your Information, You are solely responsible for the development, content,
    operation, and maintenance of Your Information, and for properly configuring and using MWS and
    taking your own steps to maintain appropriate security, protection and backup of Your Information,
    including using encryption technology to protect them from unauthorized access and routinely
    archiving them. We are not responsible for any unauthorized access to, alteration of, or the deletion,
    destruction, damage, loss, or failure to store any of Your Information in connection with MWS
    (including as a result of your or any Seller's or other third party's errors, acts, or omissions).

    MWS-2.6 MWS Applications. Prior to making your MWS Application available for commercial use,
    you must thoroughly test your MWS Application to ensure that it operates properly with MWS and
    MWS Materials, including, without limitation, that it complies with MWS Specifications.

    MWS-2.7 Information and System Access. To the extent you access or use MWS or MWS
    Materials for the purposes set forth in Section MWS-2.1 of this Agreement, you will not access or use
    any Selling Account unless and only for so long as the access and use is (a) approved beforehand in
    writing by the Seller as part of a binding agreement between you and the Seller, and (b) required to
    deliver or operate an MWS Application to or on behalf of the Seller in accordance with that
    agreement. You may not modify the account settings, Content, or offers of any Selling Account or
    make any other change to a Selling Account except to the extent authorized in writing by the Seller
    as part of a binding agreement between you and the Seller. You will not access or use any MWS
    Transaction Information or Personal Information for any purpose other than the delivery or operation
    of an MWS Application to or on behalf of the Seller. You may not reproduce or disseminate or
    disclose to any third party any MWS Transaction Information or Personal Information for any
    purpose. Without limiting the foregoing, you will (i) take appropriate technical and organizational
    measures to protect against unauthorized or unlawful processing or use of MWS Transaction




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    Information or Personal Information and against accidental loss or destruction of, or damage to,
    MWS Transaction Information or Personal Information, (ii) maintain all MWS Transaction Information
    and Personal Information logically separate from all other information, and (iii) at all times ensure
    that you are aware of and have documentation of the location of all copies of any MWS Transaction
    Information or Personal Information stored by or for you'
    MWS-3 Termination.
    MWS-3.1 Termination of Your Access to MWS and MWS Materials. Without limiting the parties'
    rights and obligations under the Agreement, we may limit, suspend, or terminate your access to
    MWS dnd all MWS Materials at any time and for any reason upon notice to you, including but not
    limited to circumstances where your access to any other Service is suspended or terminated, where
    the access of any Seller you support to use one or more Services is suspended or terminated, or if
    we determine:
         r   lour use of MWS or MWS Materials (a) poses a security risk to MWS or MWS Materials or any
             Seller or other of our customers, (b) may harm our systems or any Seller or other of our
             customers, or (c) may subject us or any third party to liability;
         r   lou are using MWS or MWS Materials for fraudulent or illegal activities; or
         .   our provision of any aspect of MWS or MWS Materials to you is prohibited by law.
    Upon any suspension or termination of your access to MWS, you will immediately cease use of MWS
    and all MWS Materials, Upon any termination of your access to MWS, you will also immediately
    destroy all MWS Materials. Upon any suspension or termination of your access to MWS, we may
    cause your Account Identifiers and Credentials to cease to be recognized by the Amazon Network for
    the purposes of MWS and MWS Materials.
    MWS-3.2 Effect of Termination. Upon termination of these Marketplace Web Service Terms, all
    rights and obligations of the Parties under these Marketplace Web Service Terms will be
    extinguished, except that Sections MWS-1, MWS-3, MWS-4. MWS-S, MWS-6. MWS-7, MWS-8.
    MWS-9. and MWS-10 survive termination.

    MWS-4 Modifications to MWS or MWS Materials.
    We may change, deprecate, or discontinue MWS or MWS Materials (including by changing or
    removing features or functionality of MWS or MWS Materials) from time to time.

    MWS-5 Notices.
    For notices made by. you to us under these Marketplace Web Service Terms and for questions
    regarding this Agreement, MWS, or MWS Materials, you may contact us at the Contact Address.

    MWS-6 Suggestions,
    If you suggest to us improvements to MWS or MWS Materials (collectively, "MWS Suggestions"),              in
    addition to the rights you grant to us in the General Terms, we will own all right, title, and interest   in
    and to the MWS Suggestions, even if you have designated the MWS Suggestions as confidential. We
    will be entitled to use the MWS Suggestions without restriction. You irrevocably assign to us all right,
    title, and interest in and to the MWS Suggestions and agree to provide us any assistance we may
    require to document, perfect, and maintain our rights in the MWS Suggestions. We reserve the right
    to contact Sellers in order to conduct periodic surveys to ascertain Sellers' general level of
    satisfaction with the MWS and MWS Materials and with your delivery of related services to Sellers,
    and you agree that we may publically report the results of surveys without restriction.

    MWS-7 Rights in MWS, MWS Materials, MWS Specifications, and the Amazon Network.
    As between you and us/ we or our licensors own all right, title, and interest in and to MWS, MWS
    Materials, MWS Specifications, and the Amazon Network. Except as provided in Section MWS-2 of
    this Agreement, you obtain no rights under this Agreement from us or our licensors to MWS, MWS
    Materials, MWS Specifications, or the Amazon Network, including any related intellectual property
    rights.



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    MWS-8 Indemnification.
    In addition to your obligations under the General Terms of this Agreement, you agree to defend,
    indemnify, and hold harmless us, our Affiliates, our and their licensors, and each of our and their
    respective employees, officers, directors, and representatives from and against any Claims arising
    out of or relating to: (a) your use of MWS or MWS Materials (including any of Your Materials you
    upload, transfer, or otherwise make available to or through MWS); (b) Your Information or the
    combination of Your Information with other applications, Content, or processes, including any claim
    involving alleged infringement or misappropriation of third party rights or the use, development,
    design, production, advertising, or marketing of Your Information; or (c) any dispute between you
    and any Seller. If we or any of our Affiliates are obligated to respond to a third party subpoena or
    other compulsory legal order or process in connection with your use of MWS or MWS Materials
    (including as described in clause (a) above), you will also reimburse us for reasonable attorneys'
    fees, as well as our or their employees'and contractors'time and materials spent responding to the
    third party subpoena or other compulsory legal order or process at our or their then-current hourly
    rates. For Claims outlined in clauses (a) through (c) above, you must: (i) defend against any Claim
    with counsel of your own choosing (subject to our prior written consent); or (ii) settle the Claim as
    you deem appropriate, provided that you obtain our prior written consent before entering into any
    settlement, We may also assume control of the defense and settlement of the Claim at any time,
    MWS-9 Disclaimers.
    IN ADDITION TO THE DISCLAIMERS IN THE GENERAL TERMS OF THIS AGREEMENT, MWS AND MWS
    MATERIALS ARE PROVIDED ''AS IS''. WE AND OUR AFFILIATE COMPANIES AND LICENSORS MAKE
    NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, WHETHER EXPRESS, IMPLIED, STATUTORY,
    OR OTHERWISE REGARDING MWS OR MWS MATERIALS, INCLUDING ANY WARRANTY THAT MWS OR
    MWS MATERIALS WILL BE UNINTERRUPTED, ERROR FREE, OR FREE OF HARMFUL COMPONENTS, OR
    THAT ANY SOFTWARE, DATA, TEXT, AUDIO, VIDEO, IMAGES, OR OTHER CONTENT YOU ACCESS,
    USE, STORE, RETRIEVE, OR TRANSMIT IN CONNECTION WITH MWS, INCLUDING YOUR
    INFORMATION, WILL BE SECURE OR NOT OTHERWISE LOST OR DAMAGED. EXCEPT TO THE EXTENT
    PROHIBITED BY LAW, WE AND OUR AFFILIATES AND LICENSORS DISCLAIM ALL WARRANTIES,
    INCLUDING ANY IMPLIED WARRANTIES OF MERCHANTABILITY, SATISFACTORY QUALITY, FITNESS
    FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT, OR QUIET ENJOYMENT, AND ANY WARRANTIES
    ARISING OUT OF ANY COURSE OF DEALING OR USAGE OF TRADE. FURTHER, NEITHER WE NOR ANY
    OF OUR AFFILIATES OR LICENSORS WILL BE RESPONSIBLE FOR ANY COMPENSATION,
    REIMBURSEMENT, OR DAMAGES ARISING IN CONNECTION WITH: (A) THE INABILITY TO USE MWS
    OR MWS MATERIALS, INCLUDING AS A RESULT OF ANY TERMINATION OR SUSPENSION OF THIS
    AGREEMENT OR YOUR USE OF OR ACCESS TO MWS OR MWS MATERIALS; (B) THE COST OF
    PROCUREMENT OF SUBSTITUTE GOODS OR SERVICES; (C) ANY INVESTMENTS, EXPENDITURES, OR
    COMMITMENTS BY YOU IN CONNECTION WITH THIS AGREEMENT OR YOUR USE OF OR ACCESS TO
    MWS OR MWS MATERIALS; OR (D) ANY TERMINATION OR SUSPENSION OF THIS AGREEMENT OR
    YOUR USE OF OR ACCESS TO MWS OR MWS MATERIALS. WE AND OUR AFFILIATE COMPANIES AND
    LICENSORS MAY DISCONTINUE PROVIDING OR DEPRECATE MWS AND ANY MWS MATERIALS, AND
    MAY CHANGE THE NATURE, FEATURES, FUNCTIONS, SCOPE, OR OPERATION OF MWS AND ANY
    MWS MATERIALS FROM TIME TO TIME, AND YOU AGREE THAT NEITHER WE NOR ANY OF OUR
    AFFILIATE COMPANIES OR LICENSORS WILL BE LIABLE TO YOU FOR ANY OF THE FOREGOING
    ACTIONS.

    MWS-10 Other Terms.
    MWS-10,1 Non-Exclusive Rights.
    The rights we grant you in this Agreement are nonexclusive, and we reserve the right (a) to develop
    or have developed for us products, services, concepts, systems, or techniques that are similar to or
    compete with any of the products, services, concepts, systems, or techniques that you may develop
    or use in connection with MWS or MWS Materials and (b) to hire, appoint, or assist third party
    developers or systems integrators who may offer products, services, concepts, systems, or
    techniques that are similar to or compete with yours. Each of us will be free to establish our own
    pricing for our products and services. As between you and us, you will be solely responsible and



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    liable for payment of all costs and expenses of any nature incurred by you or your employees in
    connection with the performance of your obligations and exercise of your rights under these
    Marketplace Web Service Terms or under any agreement you enter into with any Seller or other third
    party.

    MWS-1O.2 Confidentiality.

    You agree not to disclose any Confidential Information we make available under these Marketplace
    Web Service Terms. However, you will not be required to maintain the confidentiality of any
    information we make available under these Marketplace Web Service Terms that: (a) is or becomes
    publicly available without breach of this Agreement; (b) can be shown by documentation to have
    been known to you at the time of your receipt from us without breach of this Agreement or any
    other agreement between you and us; (c) is received from a third party who did not acquire or
    disclose the same by a wrongful or tortious act; or (d) can be shown by documentation to have been
    independently developed by you without reference to Confidential Information.

    MWS-1O.3     Import and Export Compliance.
    In using MWS and MWS Materials, you will comply with all applicable import, re-import, export, and
    re-export control laws and regulations, including the Export Administration Regulations, the
    International Traffic in Arms Regulations, and country-specific economic sanctions programs
    implemented by the Office of Foreign Assets Control.

    MWS-1O,4 No Third Party Beneficiaries.

    Except as expressly set forth in these Marketplace Web Service Terms, these Marketplace Web
    Service Terms do not create any third party beneficiary rights in any individual or entity that is not a
    party to these Marketplace Web Service Terms.

    Marketplace Web Service Definitions
    "Account Identifiers and Credentials" means account IDs and any unique public key/private key
    pair issued by us or an Affiliate Company that enables you to access and use MWS or MWS Materials.

    "Amazon Network" means our and our Affiliate Companies' internal data center facilities, servers,
    networking equipment, and host software systems (e.9., virtual firewalls) that are within our or their
    reasonable control and are used to provide MWS or MWS Materials'

    "API" means an application programming interface.
    "Contact Address" means: mws-admin@amazon.com, with a copy to P.O. Box8!226, Seattle, WA
    98108-1226, Attn: Marketplace Web Service Support.

    "MWS Application" means a software application or website that interfaces with MWS or MWS
    Materials.

    "MWS Materials" means any software, data, text, audio, video, images, or other Content we make
    available in connection with MWS, including APIs, related documentation, software libraries, and
    other supporting materials, regardless of format,
    "MWS Specifications" means any technical and operational specifications, security protocols and
    other documentation or policies provided or made available by us with respect to MWS or MWS
    Materials.

    "MWS Transaction Information" means any information, data, or Content relating to any Selling
    Account, to any customer, or to any transactions processed by or for the Amazon Contracting Party
    or any of its Affiliate Companies or on any website.

    "Personal Information" means all personally identifiable information relating to Sellers and
    customers and other third parties including, but not limited to, name, address, e-mail address,
    phone number, survey responses, and purchases.




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    "Public Software" means any software, documentation, or other material that contains, or is
    derived (in whole or in part) from, any software, documentation, or other material that is distributed
    as free software, open source software (e.9., Linux) or similar licensing or distribution models,
    including but not limited to software, documentation, or other material licensed or distributed under
    any of the following licenses or distribution models, or licenses or distribution models similar to any
    of the following: (a) the GNU General Public License (GPL); Lesser/Library GPL (LGPL), or Free
    Documentation License; (b) The Artistic License (e.9., PERL); (c) the Mozilla Public License; (d) the
    Netscape Public License; (e) the Sun Community Source License (SCSL); (f) the Sun Industry
    Standards License (SISL); (g) the BSD License; and (h) the Apache License'

    "Setler" means any person or entity (including you, if applicable) that is participating in a service
    covered by this Agreement.

    "Selling Account" means the password protected account we make available to a Seller in support
    of its participation in one or more Services covered by this Agreement.
    "staging Account" means a Selling Account with status "in staging" that we make available to a
    third party service provider whom we allow to access our online portals and tools provided to Sellers
    for the purpose of integrating or enhancing a Seller's systems with the features or functionality made
    accessible by us through MWS or MWS Materials.

    "Your Information" means the software, data, text, audio, video, images, or other Content that
    you use in connection with MWS or MWS Materials, that you cause to interface with MWS, or that
    you upload to MWS.




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                        Diamond Coaching Bonuses


ACT NOW BONUSES (only included the weekend of the live event)
Bonus #1: Free $1500 Amazon Gross Sales Value Goods Fulfilled to Your Amazon Store
within 2 weeks.

Bonus #2: TWO Days in Boston with Chris and Adam’s Team

   Advanced Business Setup in our Office
   • (2) Days of Personal Coaching with Chris and Adam’s team
   • Complete Business Integration and Startup
   • See how we operate and everything we do on a day-to-day basis
   • Leave with your business set up around your schedule and lifestyle
   • Night Out: Seafood Dinner on Boston Harbor

Bonus #3: Private Labeling Marketing Campaign
  • When your business is fully operational and ready our team will help you white label or
      private label a product from sourcing to marketing.
  • Direct Manufactures from China with sourcing we already have in place.
  • The opportunity to sell a product with 100%+ markup with NO competition

Bonus #4: 2 Store Setup in Boston with fully loaded laptop & Mifi
            nd


  • We create your 2nd Amazon store so that you can double your income and sell your
      products twice as fast. Suppliers Trends & Upcoming Product Releases
  • We provide you with the 2nd computer to run and manage your business from so that
      you don't link both accounts together. We show you how to keep everything separate so
      Amazon will never link your accounts.

Bonus #5: Elite Coaching Hotline
  • Monday - Friday 9am - 9pm EST
  • Amazon Specialists available to help at all times
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                          Gold Coaching Program
                                     VIP Mentoring
Congratulations on joining FBA Stores Gold Coaching Program. We will always strive to
deliver everything you expect and more in all of your future business endeavors with FBA
Stores.

Benefits You Are Receiving As A Member of FBA Stores Gold Coaching Program:

#1 4 Personal 1 on 1 Coaching Sessions
   • 1-ON-1 COACHING SESSIONS
      - 30-60 Min One on One Calls With one of our Coaches
   • 3 Life Lines – Direct Access to your Coach, When YOU Need Them
   • Online Training where we can see your computer screen, control your mouse, so you
      will understand every step.
   • Tips, tricks, and techniques that will increase all aspects of your business.

#2 Done 4 You WHOLESALE Fulfillment
   • Immediate Access to Product With 20% Profit Margins: Immediately start buying
      products from our Wholesale Program:
          • Done For You Deals with Great Profit Margins
          • No Monthly overhead
          • Deal Analysis Before Placing an Order
          • Access to Our Supplier Rolodex
          • Ability to Negotiate Utilizing Our Buying Power
          • Working with our team constantly to implement NEW suppliers
          • Shipped right to you

#3 Unlimited Access to “The Network”
   • Product Board:
          • Order Products Directly From our Warehouse, Easy Pay, Shipped to You
          • Access to Daily Deals
          • Access to Monthly Syndicate Deal, First Come First Serve
          • Leverage Network to Sell Your bulk deals to other students, or your product
          • The Network Always has Students looking to place Capital in good Product deals

ACT NOW BONUSES (only included the weekend of the live event)
Bonus: 2 Personal 1 on 1 Coaching Sessions

Gold Coaching Program Terms and Conditions.

The following terms and conditions govern your relationship with FBA Stores.
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1. By signing this Agreement customer agrees to join FBA Stores Gold Coaching Program. The
purpose of this program is to increase customer’s core competency skills to be able to
successfully run an ecommerce business, properly purchase product, and to leverage FBA Stores
as a fulfillment center if needed.
2. In consideration for the training, Customer’s investment will be $9,995.00.
3. The program includes 6 one-on-one coaching sessions.
4. Customer will be assigned a coach and will be given a mutually agreed upon time slot when
the coach will be available for calls. A phone number will be provided by the coach. If Customer
neglects to call in or fails to reschedule prior to the call, the coach is under no obligation to
reschedule any missed sessions and Customer’s next contact with the coach will be at the
regularly scheduled time.
5. Customer will receive assignments to be completed and these assignments will play a critical
role in success online. Therefore Customer hereby commits to completing all assignments given
in the time frame required and also to take action with the information given.
6. When purchasing product from FBA Stores, Customer agrees to honor FBA Stores Product
Policies and Procedures which include but are not limited to; pricing guidelines, Minimum
Advertised Price (MAP), Minimum Order Quantities (MOQ), and that all product orders cannot be
shipped until Customer has sent in all of the appropriate items in their entirety. Failure to obey
the aforementioned Policies and Procedures can result in FBA Stores terminating you from having
any and all access to purchase product.
7. Customer accepts and recognizes that there are no refunds for the Gold Coaching Program,
as access to all online training materials are delivered at the point of sale.
8. FBA Stores guarantees that as long as Customer applies the techniques and strategies that
they teach, FBA Stores will remain by customer’s side until Customer has recouped any
investment.
9. Customer agrees to protect FBA Stores Intellectual Property, and to maintain the confidentiality
of all information shared by FBA Stores.
10. Customer and FBA Stores agree that any and all disputes that arise between them
concerning any purchase or their relationship, shall be decided exclusively through
binding arbitration conducted by the American Arbitration Association (“AAA”). The
dispute will be decided by a single arbitrator who will apply the AAA's
Commercial Arbitration rules. The arbitrator does not have authority to make an order for costs
or attorney’s fees, and will only award contract damages if any. If, however, a party files a suit in
Court in violation of this written arbitration agreement, the party that is made to defend the suit in
Court is entitled to an immediate stay and dismissal of such Court proceeding, and shall be
entitled to an award of all reasonable attorneys fees and costs in connection with such Court
proceedings. In order to keep costs down, the arbitration will be conducted through written
submissions only, and the arbitrator will not require any live hearings. Customer waives all rights
to class arbitration. Customer and Company further agree that each party will bear its own costs
and attorney’s fees incurred in connection with the AAA arbitration proceeding.
11. Except as expressly set forth in this document, FBA Stores makes no warranties, express or
implied. All other warranties, express or implied, are hereby disclaimed by FBA Stores. In no
event shall FBA Stores be liable for indirect, incidental or consequential damages.
12. These terms and conditions shall be governed by and interpreted under the laws of the State
of Massachusetts without regard to its conflicts of law principles.
13. Prices are subject to change at any time and without notice.
14. Customer agrees to hold FBA Stores, its owners and employees, and any or all companies
or persons associated with the same harmless of any liability related to any of the products
purchased under this agreement.
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My signature below represents my agreement with each of the statements and requirements of
this Terms and Conditions.

Name: (Please Print) ____________________________

Signature: _____________________________________              Date: _____________
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